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---------- Forwarded message ---------
From: R G <rickg@gustafsonlc.com>
Date: Fri, Mar 15, 2024 at 5:31 PM
Subject: Notice of Loss Event/Claim Submission Form
To: <msanchez@erscaptive.com>


Ms. Sanchez,

On behalf of various law firms that are additional insureds, I am submitting a claim
against the Cell Grammercy 2 policy (which I understand is GRA300-2024) in the
amount of $831,499.12. I am attaching three documents to this email.

The first document is a claim form that our counsel obtained from Yvonne Lollar
earlier this week. I have completed it on behalf of the law firms.
The second document is a list of the law firms that are submitting the claim and the
contact information for those law firms. I am an owner of several of the law firms and
an authorized representative of the others. Please direct communications to my
attention.
The third document is a spreadsheet detailing the basis for this claim. As you can see
from that spreadsheet, the various law firms have been invoiced for and/or paid
hundreds of thousands of dollars in legal fees and lawsuit-related expenses as to
which various StratFS affiliates (“SFS Servicing Entities”) have contribution
obligations under their respective service agreements with the law firms.



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To date, the SFS Servicing Entities have not satisfied their contribution obligations
with respect to the listed invoices. Accordingly, the law firms are submitting this
claim. The spreadsheet reflects: (1) the amount of each invoice submitted to the law
firm; (2) whether law firm has paid the invoice; and (3) the amount of the SFS
Servicing Entity’s contribution obligation. In some cases, the law firm has already
paid 100% of the invoice (and is seeking partial reimbursement commensurate with
the SFS Servicing Entity’s contribution obligation under its servicing agreement. In
other cases, the law firm needs to obtain contribution from the SFS Servicing Entity
(or from this policy) before paying the invoice. In both instances, the law firms believe
they have a claim against this policy.

If you need additional information, please do not hesitate to contact me.

Regards,
Best Regards,
Richard K. Gustafson, II, Esq.
Managing Principal
Gustafson Legal, P.C.
2906 Central Street, Ste. 184
Evanston, IL 60201
Cell: 312-342-6200

NOTICE: This message along with any documents, files or attachments is intended only for the use of the individual or entity to which it is addressed
and may contain information that is privileged, confidential and exempt from disclosure under applicable law. If the reader of this notice is not the
intended recipient or the employee or agent responsible for delivering the message, documents, files or attachments to the intended recipient, you are
hereby notified that any dissemination, distribution, copying or storing of this communication is strictly prohibited. If you have received this
communication in error, please notify the sender immediately by telephone and delete the contents of the communication without reviewing or
disclosing the contents to anyone, using them for any purpose, or storing or copying the communication on any medium. Although this e-mail and any
attachments are believed to be free of any virus or other defect that might affect any computer system into which it is received and opened, it is the
responsibility of the recipient to ensure that it is virus free. No responsibility is accepted by Gustafson Legal, P.C. for any loss or damage arising in any
way from its use.




                                                                                                                                               Exhibit 1
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        Direct Write Policy Claim
        Notice of Loss Event / Claim Submission Form



          Contact Information                                See attached Schedule A
          Name of Insured
          Street Address of Insured
          City State ZIP Code
          Contact Person
          Work Phone
          E-Mail Address




          Loss Description
          Month, Day, Year of Loss                            See attached Schedule B

          Detailed description of when and how loss occurred – attach additional sheet if needed to explain
              The law firms listed on Schedule A incurred covered attorneys' fees and other costs and expenses
              in connection with "Claims," for which the respective Servicers have contribution obligations under
              Paragraphs 3 and 7 of the relevant Restated Servicing Agreements between those firms and the
              Servicers. The dates and amounts
                                        .        are set forth on Schedule B.

          Estimate of Loss
          Total Estimates                             $         $831,499.12




          Claim Acceptance (This section to be completed by authorized representative of captive.)
          Printed Name                               MELISSA SANCHEZ - MSanchez@ERSCaptive.com
          Signature
          Date
          Policy Number                              GRA300202401258
          Claim Number
          Date Claim Notice
          Received




        SOME STATE LAWS REQUIRE THE FOLLOWING STATEMENT APPEAR ON THIS FORM: “It is unlawful to: (a) Present or cause to be presented
        any false or fraudulent claim for the payment of a loss under a contract of insurance and/or (b) Prepare, make, or subscribe any writing with intent to
        present or use the same, or allow it to be presented or used in support of any such claim.”


CN 91 0ϳ-1ϵ




                                                                                                                                              Exhibit 1
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                        A                                   B                                       C
    Name of Insured on Policy                  Name of Insured as it appears Contact Information
                                               on Schedule B (Column C)
1
    Anchor Law Firm, PLLC d/b/a Law Offices    Anchor Law Firm PLLC         Rick Gustafson, Authorized Representative
    of Stacy Robinson and Associates                                        2906 Central Street, Ste. 184
                                                                            Evanston, IL 60201
                                                                            Cell: (312) 342-6200
                                                                            rickg@gustafsonlc.com

                                                                            Tom Rogus
                                                                            609 SW 8th St., #600
                                                                            Bentonville, AR 72712
                                                                            Work: (312) 940-3557
                                                                            Cell: (708) 969-8613
                                                                            trogus11@gmail.com
2
    A. Florio & Associates, PLLC dba Bedrock   Bedrock Legal Group          Rick Gustafson, Authorized Representative
    Legal Group                                                             2906 Central Street, Ste. 184
                                                                            Evanston, IL 60201
                                                                            Cell: (312) 342-6200
                                                                            rickg@gustafsonlc.com

                                                                            James Agosto
                                                                            9330 Lyndon B. Johnson Fwy #900
                                                                            Dallas, TX 75243
                                                                            Cell: (612) 695-8060
                                                                            james@agostolawgroup.com
3




                                                                                                                        Exhibit 1
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                        A                                 B                                     C
    Boulder Legal Group, LLC                Boulder                      Rick Gustafson
                                                                         2906 Central Street, Ste. 184
                                                                         Evanston, IL 60201
                                                                         Cell: (312) 342-6200
                                                                         rickg@gustafsonlc.com
4
    Jon Schulte & Associates, LLC d/b/a     Canyon Legal Group, LLC      Rick Gustafson
    Canyon Legal Group                                                   2906 Central Street, Ste. 184
                                                                         Evanston, IL 60201
                                                                         Cell: (312) 342-6200
                                                                         rickg@gustafsonlc.com
5
    Henry Legal Group, PLLC dba Heartland   Heartland Legal Group, LLP   Rick Gustafson, Authorized Representative
    Legal Group                                                          2906 Central Street, Ste. 184
                                                                         Evanston, IL 60201
                                                                         Cell: (312) 342-6200
                                                                         rickg@gustafsonlc.com

                                                                         Timothy Burnette
                                                                         41000 Woodward Ave, Suite 350
                                                                         Bloomfield Hills, MI 48304
                                                                         Work: (312) 273-5020
                                                                         Cell: (708) 307-4766
                                                                         tburnettelaw@gmail.com
6




                                                                                                                     Exhibit 1
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                        A                                   B                                    C
    Burnette Legal Group, LLC dba Monarch     Burnette Legal Group, LLC   Rick Gustafson, Authorized Representative
    Legal Group                                                           2906 Central Street, Ste. 184
                                                                          Evanston, IL 60201
                                                                          Cell: (312) 342-6200
                                                                          rickg@gustafsonlc.com

                                                                          Timothy Burnette
                                                                          203 N LaSalle Drive, #2100
                                                                          Chicago, IL 60601
                                                                          Work: (312) 273-5020
                                                                          Cell: (708) 307-4766
                                                                          tburnettelaw@gmail.com
7
    Law Office of Mercedes Gustafson, d/b/a   Northstar                   Rick Gustafson, Authorized Representative
    Northstar Legal Group, LLC                                            2906 Central Street, Ste. 184
                                                                          Evanston, IL 60201
                                                                          Cell: (312) 342-6200
                                                                          rickg@gustafsonlc.com

                                                                          James Agosto
                                                                          121 N. Washington Avenue, 4th Floor
                                                                          Minneapolis, MN 55401
                                                                          Cell: (612) 695-8060
                                                                          james@agostolawgroup.com
8




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                         A                                  B                                     C
     Law Offices of Gardner Legal LLC d/b/a   Option 1 Legal aka Gardner   Rick Gustafson, Authorized Representative
     Option 1 Legal                           Legal, LLC                   2906 Central Street, Ste. 184
                                                                           Evanston, IL 60201
                                                                           Cell: (312) 342-6200
                                                                           rickg@gustafsonlc.com

                                                                           Timothy Burnette
                                                                           10440 Little Patuxent Parkway, Suite 300
                                                                           Columbia, MD 21044
                                                                           Work: (312) 273-5020
                                                                           Cell: (708) 307-4766
                                                                           tburnettelaw@gmail.com
9
     Hodyno & Associates, PLLC d/b/a Rockwell Rockwell Legal Group, PLLC   Rick Gustafson, Authorized Representative
     Legal Group                                                           2906 Central Street, Ste. 184
                                                                           Evanston, IL 60201
                                                                           Cell: (312) 342-6200
                                                                           rickg@gustafsonlc.com

                                                                           Craig Horvath
                                                                           20 Thomas Road, Suite 2200
                                                                           Phoenix, AZ 85012
                                                                           chorvath10@gmail.com
                                                                           craig@thehorvathlawfirm.com
10




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                         A                                   B                                  C
     Donald Norris & Associates, LLC d/b/a     Royal Legal Group, LLC    Rick Gustafson
     Royal Legal Group, LLC                                              2906 Central Street, Ste. 184
                                                                         Evanston, IL 60201
                                                                         Cell: (312) 342-6200
                                                                         rickg@gustafsonlc.com
11
     Law Office of Melissa Michel LLC d/b/a/   Spring Legal Group, LLC   Rick Gustafson, Authorized Representative
     Spring Legal Group                                                  2906 Central Street, Ste. 184
                                                                         Evanston, IL 60201
                                                                         Cell: (312) 342-6200
                                                                         rickg@gustafsonlc.com

                                                                         Melissa Michel
                                                                         1201 Peachtree St NE, Ste. 200
                                                                         Atlanta, GA 30361
                                                                         mm@cmatlantalaw.com
12
     Gustafson Consumer Law Group, LLC         White Oak Law Group       Rick Gustafson
     d/b/a White Oak Law                                                 2906 Central Street, Ste. 184
                                                                         Evanston, IL 60201
                                                                         Cell: (312) 342-6200
                                                                         rickg@gustafsonlc.com
13




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                         A                                  B                                    C
     Law Offices of the Sands Law Group, LLP   The Sands Law Group, LLP   Rick Gustafson, Authorized Representative
     d/b/a Whitestone Legal Group                                         2906 Central Street, Ste. 184
                                                                          Evanston, IL 60201
                                                                          Cell: (312) 342-6200
                                                                          rickg@gustafsonlc.com

                                                                          James Agosto
                                                                          205 S. Broadway Ste 903
                                                                          Los Angeles, CA 90012
                                                                          Cell: (612) 695-8060
                                                                          james@agostolawgroup.com
14
     Law Office of Guillermo Geisse, d/b/a     Summit Law Firm, LLC       Rick Gustafson, Authorized Representative
     WYOLAW, LLC                                                          2906 Central Street, Ste. 184
                                                                          Evanston, IL 60201
                                                                          Cell: (312) 342-6200
                                                                          rickg@gustafsonlc.com

                                                                          Guillermo Geisse
                                                                          5830 E. 2nd Street
                                                                          Casper, WY 82609
                                                                          Cell: (916) 747-9946
                                                                          gfgeisse@gmail.com
15




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                         A                             B                                      C
     Brandon Ellis Law Firm, LLC         Brandon Ellis Law Firm, LLC
                                                                       Rick Gustafson, Authorized Representative
                                                                       2906 Central Street, Ste. 184
                                                                       Evanston, IL 60201
                                                                       Cell: (312) 342-6200
                                                                       rickg@gustafsonlc.com

                                                                       James Agosto
                                                                       300 E. Business Way, Suite 200, Summit Woods
                                                                       Corporate Center Cincinnati, OH 45241
                                                                       Cell: (612) 695-8060
                                                                       james@agostolawgroup.com
16
     Dakis Legal Group, LLC              Dakis Legal Group, LLC        Rick Gustafson, Authorized Representative
                                                                       2906 Central Street, Ste. 184
                                                                       Evanston, IL 60201
                                                                       Cell: (312) 342-6200
                                                                       rickg@gustafsonlc.com

                                                                       Gabe Dakis
                                                                       322 North Shore Drive, Building 1B, Suite 200
                                                                       Pittsburgh, PA 15212
                                                                       (412) 860-5861
                                                                       dakisgc@gmail.com
17




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                        A                                   B                                     C
     The Law Firm of Derek Williams, LLC dba Infinite Law Group            Rick Gustafson, Authorized Representative
     Infinite                                                              2906 Central Street, Ste. 184
                                                                           Evanston, IL 60201
                                                                           Cell: (312) 342-6200
                                                                           rickg@gustafsonlc.com

                                                                           James Agosto
                                                                           400 W. Capital Ave., Suite 1700
                                                                           Little Rock, AR 72201
                                                                           Cell: (612) 695-8060
                                                                           james@agostolawgroup.com
18
     Hallock and Associates, LLC             Hallock and Associates, LLC   Rick Gustafson, Authorized Representative
                                                                           2906 Central Street, Ste. 184
                                                                           Evanston, IL 60201
                                                                           Cell: (312) 342-6200
                                                                           rickg@gustafsonlc.com

                                                                           Michael Hallock
                                                                           70 Birch Alley, Suite 240
                                                                           Beavercreek, OH 45440
                                                                           michaelhallockjr@gmail.com
19




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                        A                             B                                C
     Michel Law, LLC dba Level One      Michel Law, LLC         Rick Gustafson, Authorized Representative
                                                                2906 Central Street, Ste. 184
                                                                Evanston, IL 60201
                                                                Cell: (312) 342-6200
                                                                rickg@gustafsonlc.com

                                                                Lori Leigh
                                                                100 South Ashley Drive, Suite 600
                                                                Tampa, FL 33602
                                                                (248) 353-3101
                                                                lori.leighlaw@gmail.com
20
     Pioneer Law Firm, PC               Pioneer Law Firm, PC    Rick Gustafson, Authorized Representative
                                                                2906 Central Street, Ste. 184
                                                                Evanston, IL 60201
                                                                Cell: (312) 342-6200
                                                                rickg@gustafsonlc.com

                                                                Jason Blust
                                                                390 Interlocken Crescent, Ste. 350
                                                                Broomfield, CO 80021
                                                                Work: (312) 273-5002
                                                                Cell: (708) 341-2022
                                                                jason.blust@clientfirstbankruptcy.com
21




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                                                                                                                                                                                     OpenBalance       Vendor                                    Memo                             Expense Memo                                                                                                                   SFSC
 Account Name                          Date      LawFirm                                  Account Number   Ref Number       Amount              Payment            PartialPayment
                                                                                                                                                                             $0.00     $445,757.30                                                                                                                                                                                                               $       831,499.12
 Corporate LegalExpenses            _ Total                                                                                 $1,057,138.61         ($611,381.31)
                                                                                                                                  $64,377.66              $0.00              $0.00       $64,377.66                                                                                                                                                                                                              $       50,594.41
|Corporate LegalExpenses              Mar-24
                                                                                                                                                                                            $312.00 | Rathje      Woodward                       102630                           NJ Bar C                        te: Andrew Carroll                                                                             $           251.10
r Corporate Legal E>                  Mar-24     |Anchor Law Firm PLLC                        63901        TDE20411         $          312.00
                                                                                                                                                                                          $3,330.84 | Rathje Woodward                            102632                           Holmes, Debbie Lawsuit USDC MD TN Case #3:20-cv-00870 55.56%                                                                   $         1,850.61
 Corporate Legal E>                   Mar-24 | Heartland Legal Group, LLP                     63901        TDE20512         $        9,330.84
                                                                                                                                                                                            $940.50 | Rathje Woodward                            102633                           Canfield, Daryt Terrance, Jr. re P. Gardner                                                                                    $           756.91
 Corporate Legal E>                   Mar-24     |Option 1 Legal aka Gardner Legal, LLC       63901        TDE21147         $         940.50
                                                                                                                                                                                         $31,404.47 | Rathje Woodward                            102634                           City of Chicago Dep                        of Law                                                                              $        25,274.32
 Corporate Legal                      Mar-24     |B         Legal Group, LLC                  63901        TDE21236         $       31,404.47
                                                                                                                                                                                            $156.00 | Rathje Woodward                            102637                           CID (AZ)                                                                                                                       $           125.55
 Corporate Legal                      Mar-24     |Rockwell Legal Group, PLLC                  63901        TDE22005         $          156.00
                                                                                                                                                                                                                                                 102643                           Rathje Woodward - LaVerda McClain - Settlement (OH) - 63.79%                                                                   $            85.05
 Corporate Legal                      Mar-24     |Heartland Legal Group, LLP                  63901        TDE22231         $          133.33                                               $133.33 | Rathje Woodward
                                                                                                                                                                                          $1,293.84    |Rathje Woodward                          102645                           Rathje Woodward - Briggs (IL) - 65.43%                                                                                         $          846.56
 Corporate Legal         Exp          Mar-24 | Burnette Legal Group, LLC                      63901        TDE22250         $        1,293.84
                                                                                                                                                                                            $133.33    |Rathje                  d                102650                           PA AG (Morenus) 80.48%.                                                                                                        $           107.30
  Corporate Legal Expenses          | Mar-24     |Heartland Legat Group, LLP                  63901        TDE23042         $          133.33
                                                                                                                                                                                                       |Rathje Woodward                          102652                           Rathje Woodward -Invoice #102652- Debrah Farentino - 91.72%                                                                    $          440.10
  Corporate Legal Expenses          | Mar-24     |Canyon Legal Group, LLC                     63901        TDE23160          $         479.83                                               $479.83
                                                                                                                                                                                                       |Rathje Woodward                          102655                           Rathje      Wo dward -Invoice #102655- Ronnie and Monica Quinones - 82.9296                                                    $           250.89
 Corporate Legal Ex            es     Mar-24                Legal Group, LLC                  63901        TDE23274         $          302.57                                               $302.57
                                                                                                                                                                                                       |Rathje Woodward                          102656                           Rathje Woodward -Invoice #102656- Alan and Ronda Gotdman - 93.02%                                                              $         1,074.91
  Corporate Legal Expenses            Mar-24 | Burnette Legal Group, LLC                      63901        TDE23275         $        1,155.57                                             $1,155.57
                                                                                                                                                                                                                                                 102662                           Rathje Woodward -Invoice #102662 - Boller (MN AG) - 71.67%                                                                     $            95.56
  Corporate Legal Expenses          | Mar-24     |Summit Law Firm, LLC                        63901        TDE23321         $          133.33                                               $133.33 | Rathje Woodward
                                                                                                                                                                                                                                                 102664                                     Dept. of C:                                                                                                          $           107.30
 Corporate Legal Exp            s   | Mar-24     |Rockwell Legal Group, PLLC                  63901        TDE23344         $          133.33                                               $133.33 | Rathje Woodward
                                                                                                                                                                                            $302.57 | Rathje Woodward                            102665                           Rathje Woodward -invoice #102665 - Barbara Mango - 71.63%                                                                      $           216.73
 Corporate Legal E>                   Mar-24     |Burnette Legal Group, LLC                   63901        TDE23356         $          302.57
                                                                                                                                       302.57                                               $302.57    |Rathje           Woodward                102667                           Rathje Woodward -Invoice #102667- Katherine Hicks - 44.25%                                                                     $           133.89
  Corporate Legal &:      S| Mar-24                          Legal Group, LLC                 63901        TDE23363         $
                                                                                                                                                                                            $133.33    |Rathje           Woodward                102669                           Nancy Leaman Ci        toVA Bureau of F          it                                                                            $           107.30
  Corporate Legal Expenses | Mar-24              [Infinite Law Group                          63901        TDE23381         $          133.33
                                                                                                                                                                                            $776.84 | Rathje Woodward                            102671                           Anissa Cook 86.46%                                                                                                             $           671.66
  Corporate LegalExpenses           | Mar-24                Legal Group, LLC                  63901        TDE23395         $         776.84
                                                                                                                                                                                            $637.50 | Rathje Woodward                            102675                           Rathje Woodward -Invoice #12675- Erica Welsh f/k/a Erica Waite v. Spring Legal Group (OH) - 87.19%                             $           555.84
  Corporate Legal Expenses          | Mar-24     |Spring Legal Group, LLC                     63901        TDE23108         $         637.50
                                                                                                                                                                                            $133.33    [Rathje Woodward                          102675                           Rathje Woodward -Invoice #102675- Pedro Ramos Jr. (CT) - 79.84%                                                                $           106.45
  Corporate Legal Expenses          | Mar-24     |Spring Legal Group, LLC                     63901        TDE23409         $          133.33
                                                                                                                                                                                          $7,029.33 | Rathje Woodward                            102676                           ODC (OH)                                                                                                                       $         5,657.20
  Corporate LegalExpenses           | Mar-24 | Hallock and Associates, LLC                    63902        TOE23410         $        7,029.33
                                                                                                                                                                                            $622.34 | Rathje Woodward                            102677                                    (IL) 55.52%
                                                                                                                                                                                                                                                                                  John Creggitt                                                                                                                  $           345.52
  Corporate   Legal Exp               Mar-24 |B             Legal Group, LLC                  63901        TDE23416         $          622.34
                                                                                                                                                                                                                                                 102678                           Rathje Woodward -Invoice #102678- Jensen (NJ)- 77.74%                                                                          $         1,502.77
  Corporate Legal Expenses_|    Mar-24 |The Sands Law Group, LLP                              63901        TDE23417         $1,933.07                                                     $1,933.07 | Rathje Woodward
                                                                                                                            $    445.34                                                     $445.34 |Rathje      di                              102680                                       'g (IL) 56.26%                                                                                                     $           250.55
  Corporate Legal           s | Mar-24 |B        Legal Group, LLC                             63901        TOE24001
                                                                                                                                                                                          $2,735.00 | Rathje Woodward                            102681                           Ds                     Smith (CT)                                                                                              $         2,201.13
  Corporate LegalExpenses           | Mar-24     |Canyon Legal Group, LLC                     63901        TDE24002                 $2,735.00
                                                                                                                                                                                          $3,110.00 | Rathje Woodward                            102684                           Jurczak (NJ)                                                                                                                   $         2,502.93
 Corporate Legal Expenses _| Mar-24              |Canyon Legal Group, LLC                     63901        TDE24047                 $3,110.00
                                                                                                                                                                                            $396.00 | Rathje Woodward                            102685                                hishing                      (2023CH3714)                                                                                 $           318.70
  Corporate Legal Expenses          | Mar-24     |Burnette Legal Group, LLC                   63901        TOE24059         $          396.00
                                                                                                                                                                                            $932.50 | Rathje Woodward                            102686                                   yn           Ramirez (AAA IL)                                                                                          $           750.48
 Corporate Legal Expenses           | Mar-24     |White Oak Law Group                         63901        TOE24067         $          932.50
                                                                                                                            $          734.00                                               $734.00    |Rathje Woodward                          102687                           Pameta Lowe (AAA IL)                                                                                                           $           590.72
 Com          Legal Exp               Mar-24 |White Oak Law Group                             63903        TOEZ4068
                                                                                                                                                                                            $970.50 | Rathje Woodward                            102688                           Mary Harwig (AAA IL)                                                                                                           $           781.06
 Carp         Legal Expenses        | Mar-24     |White Oak Law Group                         63901        TOE24069         $          970.50
                                                                                                                            $          772.50                                               $772.50 | Rathje Woodward                            102689                           Magnotta (VA}                                                                                                                  $           621,71
  Corp        Legal Exp               Mar-24 |R              Legal Group, PLLC                $3902        TDE24076
                                                                                                                                                                                          $2,502.00 | Rathje Woodward                            102690                                                  (AZ)                                                                                                    $         2,013.61
  Corporate Legal Expenses          | Mar-24 IR             | Legal Group, PLLC               63901        TDE24078         $        2,502.00


                                                                                                                                                                   Partial Payment   OpenBalance       Vendor                                    Memo                             Expense Memo                                                                                                                   SFS C
 Account Name                          Date      LawFirm                                  A                Ret        ber   Amount              Payment
                                                                                                                                                    ($50,000.00)             $0.00      $241,770.16                                                                                                                                                                                                              $       232,385.62
 {Corporate LegalExpenses             Feb-24                                                                                     $291,770.16
                                                                                               63901       40857169                $2,865.08                                              $2,865.08    |Wilentz Attorney at Law                  Invoice #40857169                Wilentz Attorney at Law - Invoice #40857169 - OAE Case
 Carp         Legal Exp               Feb-24     |Anchor Law Firm PLLC
                                                                                                                                                                                         $11,812.57    |Wilentz Attorney at Law                  Invoice #40857169                Wilentz Attorney at Law - Invoice #40857169 - OAE Case - 80.48%                                                                $        11,812.57
 Corp         Legal &                 Feb-24     |Anchor Law Firm PLLC                         63901       40857169               $11,812.57
                                                                                               63901       40857157                  $444.03                                                $444.03    |Wilentz Attorney at Law                  Invoice #40857157                Wilentz Attorney at Law - Invoice #4085715? - State of NJ case
 Corp         Legal                   Feh-24     |Anchor Law Firm PLLC
                                                                                                                                                                                                                                                 Invoice #40857157                Witentz Attorney at Law - Invoice #4085715? - State of NJ case - 80.48%                                                        $         1,830.72
 Corp         Legal                   Feb-24     |Anchor Law Firm PLLC                         63901       40857157                $1,830.72                                              $1,830.72 | Wilentz Attorney at Law
                                                                                               63901       2402-2809               $6,798.99                                              $6,798.99 | Hemming Morse LLP                          invoice #2402-2809               H              ingMorse LLP - Invoice #2402-2809 - City of Chicago Case
  Corp        Legal E:                Feb-24     |Burnette Legal Group, LLC
                                                                                                                                                                                                       | Hemming Morse LLP                       Invoice #2402-2809               Hi             ingMorse LLP - Invoice #2402-2809 - City of Chicago Case - 80.48%                                               $        28,031.89
 Corporate Legal Expenses _| Feb-24 [Burnette Legal Group, LLC                                 63901       2402-2809              $28,031.89                                             $28,032.89
                                                                                                                                   $1,034.56                                              $1,034.56    |Buch            Ing           & Rooner   PA General F         Retainer Paj Buch                  1            & Rooner - PA General F           - January Retainer Payment
 Carp      Legal             Feb-24 |Heartland Legal Group, LLP                                63901       12284941
                                                                                                                                                                                                       |Buch            if            & Rooner   PA General R         Retainer PajBuchanan                            & Rooner - PA General F           - January Retainer Payment - Invaice #1228494 - 80.48%   $         4,265.44
 Corp         Legal                   Feb-24     |Heartland Legal Group, LLP                   63901       12284941                $4,265.44                                              $4,265.44
                                                                                                           33824                   $3,741.06                                              $3,741.06 | Thurman Legal Invoice #3821                Invoice #3821                                           Legal Invoice #3821 - General Ri           y Advise
 Carp         Legal                   Feb-24 | Infinite Law Group                              63901
                                                                                                                                                                                         $15,424.22    |Thurman Legal Invoice #3821              Invoice #3821                             Legal Invoice #3821 - General Regulatory Advise - 80.48%                                                              $        15,424.22
 Carporate Legal                      Feb-24     |Infinite Law Group                           63901       3821                   $15,424.22
                                                                                               63901       869407                    $142.63                                                $142.63    |Batch & Bingham LLP                      Invoice #869407                  Balch & Bingham LLP - Invoice #869407 - Kirkland (AL)
 Ce           Legal &                 Feb-24     |Summit Law Firm, LLC
                                                                                                                                                                                            $561.37    |Batch &    Bi               LLP          Invoice #869407                  TBatch & Bingham LLP - Invoice #869407 - Kirkland (AL) - 79.74%                                                                $           561.37
 Cc           Legal B                 Feb-24     |Summit Law Firm, LLC                         63901       869407                    $561.37
                                                                                               63901       869793                     $80.23                                                 $80.23 | Balch &      Bing             LLP          Invoice #869793                   Balch & Bi      LLP - Invoice #869793 - Kirkland (AL)
  C           Legal Exp               Feb-24     |Summit Law Firm, LLC
                                                                                                                                                                                            $315.77    |Balch &    Bi               LLP          Invoice #869793                  Balch &          LLP - Invoice #869793- Kirkland {AL) - 79.74%
                                                                                                                                                                                                                                                                                                         Bi                                                                                                      $           315.77
  Carporate Legal E                   Feb-24     |Summit Law Firm, LLC                         63901       869793                    $315.77
                                                                                                                                                                                                                                                 Invoice #1120                    Chris Nybo LLC Invoice #1120 - February Services                                                                               $              -
 Ci           Legal E                 Feb-24 | White Oak Law Group                             63901       1120                      $381.00                                                $381.00 | Chris Nybo LLC Invaice #1120
                                                                                                                                                                                                       |Chris Nybo LLC Invoice #1120             Invoice #1120                    Chris Nybo LLC Invoice #1120 - February Services                                                                               $              -
  Corp        Legal                   Feb-24 | White Oak Law Group                             63901       1120                      $244.00                                                $244.00
                                                                                                                                                                                               $0.00   |Connors LLP                                                               Connors LLP - Feb. Retainer Pmt                                                                                                $        40,240.00
                                      Feb-24 | Brandon Ellis Law Firm, LLC                     63901                              $50,000.00        {$50,000.00)
                                                                                                                                                                                                                                                 101904                           T, Ice Grievance Against Montanile 80.48%                                                                                      $           234.20
  Corporate Legal                     Feb-24 | Anchor Law Firm PLLC                            63901       TDE20249                  $291.00                                                $291.00 | Rathje Woodward
                                                                                                                                     $247.50                                                $247.50 | Rathje Woodward                            101917                            Domi                       Smith (CT)                                                                                         $           199.19
  Corporate Legal B                   Feb-24 |Canyon Legal Group, LLC                          63901       TDE24002
                                                                                                                                                                                          $5,518.00 | Rathje Woodward                            102277                            BBB                           PA 80.48%                                                                                       $         4,440.89
  Corporate Legal B                   Feb-24 |Dakis Legal Group, LLC                           63901       TDE23388                $5,518.00
                                                                                                                                                                                          $8,791.23 | Rathje Woodward                            102097                           ODC (OH)                                                                                                                       $         7,075.18
  Corporate Legal E                   Feb-24     |Hallock and Associates, LLC                  63901       TDE23410                $8,791.23
                                                                                                                                                                                                                                                 101908                            Rathje Woodward - Holmes, Debbie Lawsuit USDC MD TN Case #3:20-cv-00870 - 55.66%                                              $         3,585.24
  Corporate Legal Expenses          | Feb-24     |Heartland Legal Group, LLP                   §3901       TDE20512                $6,441.27                                              $6,441.27 | Rathje Woodward
                                                                                                                                                                                        $135,467.40 | Rathje Woodward                            101909                            City of Chicago Department of Law Inves'                                                                                      $       109,024.16
  Corporate Legal E                   Feb-24     |B         Legal Group, LLC                   63901       TDE21236              $135,467.40
                                                                                                                                                                                                                  Woodward                       102290                                   i     h    and Jeremy Craig                                                                                            $            84.14
  Corporate Legal Exp                 Feb-24 | Burnette     Legal Group, LLC                   63901       TDE23229                   $99.00                                                 $99.00 | Rathje
                                                                                                                                                                                                                                                 101750                            Rathje Woodward -Invoice #101750- K.                            Hicks - 44.25%                                                $            74.88
  Corporate Legal Exp                 Feb-24                Legal Group, LLC                   63901       TDE23363                  $169.23                                                $169.23 | Rathje Woodward
                                                                                                                                                                                            $792.00    |Rathje Woodward                          101987                            Schnakenberg (IL) 56.26%                                                                                                      $           445.58
  Corporate Legal Exp                 Feb-24 | Burnette     Legal Group, LLC                   63901       TDE24001                  $792.00
                                                                                                                                                                                                                                                 101910                            MN Attorney General Civil                              Demand                                                                 $           125.55
  Corporate Legal Expenses          | Feb-24     |Northstar Legal Group, LLC                   63901       TDE23041                  $156.00                                                $156.00 | Rathje Woodward
                                                                                                                                                                                                                                                  102298                           Rathje Woodward -Invoice #102298- Patricia Hamilton, Trustee on behalf of Est. of Boggs - 84.50%                              $             0.59
  Corporate Legal Exp                 Feb-24 | Royal Legal Group, LLC                          63901       TDE20410                     $0.70                                                  $0.70   |Rathje Woodward
                                                                                                                                                                                            $145.50    |Rathje Woodward                           101804                           Rathje Woodward -Invoice #101804- llene Lashinsky Trustee OBO Joseph & Lita Paulson v. Royal Legal Group - 84.59%             $           122.95
  Corporate Legal Expenses          | Feb-24 |Royal Legal Group, LLC                           63901       TDE21216                  $145.50
                                                                                                                                                                                                                                                  101926                           Erica Welsh f/k/a Erica Waite v. Spring Legal Group (OH) 87.19%                                                               $           555.84
  Corporate Legal                     Feb-24 | Spring Legat Group, LLC                         63901       TDE23109                  $637.50                                                $637.50 | Rathje Woodward
                                                                                                                                                                                                                                                  101913                           Rathje Woodward -Invoice #101913- Pedro Ramos Jr. (CT) - 79.84%                                                               $           646.52
  Corporate Legal                     Feb-24 | Spring Legat Group, LLC                         63901       TDE23409                  $809.77                                                $809.77 | Rathje Woodward
                                                                                                                                                                                                                                                  101915                           Rathje Woodward -Invoice #101915- Jensen (NJ)- 77.74%                                                                         $         3,288.79
  Corporate Legal E:                  Feb-24     |The Sands Law Group, LLP                     63901       TDE23417                $4,230.50                                               $4,230.50 | Rathje Woodward


                                                                                                                                                                                     OpenBalance       Vendor                                     Memo                             Expense Memo                                                                                                                  SFS Contribution
 Account Name                          Date      Law Firm                                 Account Number   Ref Number       Amount              Payment            Partial Payment




                                                                                                                                                                                                                                                                                                                                                                                                                                      Exhibit 1
                                                                                            Case 1:24-cv-00040-EAW-MJR Document 234-2 Filed 03/22/24 Page 15 of 19
                                                                                                                          PSOU,DO4.BL    {P2ZZ8, 004.59)   Qu.uu   499,700.40                                                                                                                                                                                                    oe
|Corporate LegalExpenses              Jan-24
                                                                                 63901   40854974                           $3,329.72                                $3,329.72    |Wilentz Attorney at Law             Invoice #40854974              Wilentz Attorney at Law - Invoice #40854974 - State of NJ case
 Corporate Legal Expenses             Jan-24    |Anchor Law Firm PLLC
                                                                                                                                                                    $13,728.26    |Wilentz Attomey at Law              Invoice #40854974              Wilentz Attorney at Law - Invoice #40854974 - State of NJ case - 80.48%                                                    $   13,728.26
 Corporate Legal Expenses          | Jan-24     |Anchor Law Firm PLLC            63801   40854974                          $13,728.26
                                                |Anchor Law Firm PLLC            63801    Invoice #101628                      $67.34                                   $67.34    |Rathje Woodward                     Invoice #101628                Rathje Woodward -Invoice #101628-T. Ice Grievance Against Montanile
 Corporate Legal Expenses             Jan-24
                                                                                                                                                                       $277.66    |Rathje Woodward                     invoice #101628                Rathje Woodward -Invoice #101628- T. Ice Grievance Against           + 80.48%                                              $      277.66
Corporate Legal Expenses           | Jan-24     |Anchar Law Firm PLLC            63901    Invoice #101628                     $277.66
                                                |Anchar Law Firm PLLC            63901    Invoice #101634                     $662.70                                  $662.70 | Rathje Woodward                       Invoice #101634                Rathje Woodward -Invoice #101634- NJ Bar Complaint re: Andrew Carroll
 Corporate Legal Expenses             Jan-24
                                                                                                                                                                     $2,732.30    |Rathie              ‘d              Invoice #101634                Rathje Woodward -Invoice #101634- NJ Bar                   Complaint          re: Andrew Carroll - 80.48%                  $    2,732.30
 Corporate Legal Expenses             Jan-24    |Anchaor Law Firm PLLC           63901    Invoice #101634.                  $2,732.30
                                                                                 63901    INV579302058                        $651.40                                  $651.40    |Consilio                            INV579302058                   Consilio - INV579302058
 Corporate Legal Exp                  Jan-24 |BedRock Legal, PLLC
                                                                                                                                                                     $2,685.69    |Consilio                            INV579302058                   Consiltio - INV579302058 - Legal Consulting Fees - 80.48%                                                                  $    2,685.69
 Corporate Legal Exp                  Jan-24 |BedRock Legal, PLLC                63901    (NV579302058                      $2,685.69
                                                                                                                                                                         $0.00 | Salvatore Prescott Porter & Porter}     Retainer Payment                         Prescott Porter & Porter PLLC- Retainer Payment                                                                $   60,360.00
 Corporate Legal Exp                  Jan-24 [Brandon Ellis Law Firm, LLC        63901   Jan, Retainer Pmt                 $75,000.00     ($75,000.00)
                                                                                                                           $30,000.00     ($30,000.00)                   $0.00 | Rathje                ct                                             Rathje           d - Client Annelise        and Craig                                       84.96%                         $   25,488.00
 Corporate Legal Exp                  Jan-24 [Burnette Legal Group, LLC          63901    Settl-Sch
                                      Jan-24 [Burnette Legal Group, LLC          63901    2401-2518                           $408.85                                  $408.85    | Hemming Morse LLP                  Invoice #2401-2518             Hemming Morse LLP - Invoice #2401-2518 - City of Chicago Case
 Corporate Legal Expenses
                                                                                                                                                                     $1,685.65    | Hemming Morse LLP                  Invoice #2401-2518             Hemming Morse LLP - Invoice #2401-2518 - City of Chicago Case - 80.48%                                                     $    1,685.65
 Corporate Legal Exp                  Jan-24 [Burnette Legal Group, LLC          63901    2401-2518                         $1,685.65
                                                                                 63901    Invoice #101644                  $15,262.18                               $15,262.18 | Rathje Woodward                       Invoice #101644                Rathje Woodward -Invoice #101644- City of Chicago Department of Law
 Corporate Legal E>                   Jan-24   |Burnette Legal Group, LLC
                                                                                                                                                                    $62,925.20 | Rathje Woodward                       Invoice #101644                Rathje Woodward -Invoice #101644- City of Chicago Department of Law Investigation - 80.48%                                 $   62,925.20
 Corporate Legal &                    Jan-24 | Burnette Legal Group, LLC         63901    Invoice #101644                  $62,925.20
                                      Jan-24 | Burnette Legal Group, LLC         63901    Invoice #101685                      $58.50                                   $58.50 | Rathje Woodward                       Invoice #101685                Rathje Woodward -Invoice #101685- Briggs {IL}
 Corporate Legal Ex
                                                                                                                                                                       $110.73 | Rathje Woodward                       Invoice #101685                Rathje Woodward -Invoice #101685- Briggs (IL) - 65.43%                                                                     $      110.73
 Corporate LegalEx                    Jan-24 | Burnette Legal Group, LLC         63901    invoice #101685.                    $110.73
                                   | Jan-24 | Burnette Legal Group, LLC          63901    Invoice #101733                     $146.80                                  $146.80 | Rathje Woodward                       Invoice #101733                Rathje Woodward -Invoice #101733- Ronnie and Monica Quii
 Corporate Legal E:            §
                                                                                                                                                                       $712.70    |Rathje Woodward                     invoice #101733                Rathje Woodward -Invoice #101733- Ronnie and Manica Qui                                      - 82.92%                      $      712.70
 Corporate LegalE:            eS      jJan-24 | Burnette Legal Group, LLC        63901    invoice #101733                     $712.70
                                      Jan-24              Legal Group, LLC       63901    invoice #101734                      $22.72                                   $22.72    |Rathje Woodward                     Invoice #101734                 Rathje Woodward -Invoice #101734- Alan and Ronda Gi
 Corporate Legal Exp
                                                                                                                                                                       $302.78    |Rathie Woodward                     Invoice #101734                 Rathje    Woodward -Invoice #101734- Alan and Ronda                                     - 93.02%                          $      302.78
 Corporate Legal Expenses             Jan-24    |Burnette Legal Group, LLC       63901    Invoice #101734                     $302.78
                                                                                          Invoice #101728                     $237.41                                  $237.41    |Rathje Woodward                     Invoice #101728                 Rathje Woodward    -l               #101728-       it                        and seremy Craig
 Corporate Legal Expenses             Jan-24    |Burnette Legal Group, LLC       63901
                                                                                                                                                                     $1,341.09 | Rathje Woodward                       Invoice #101728                 Rathje Woodward -Invoice #101728- Annelise Schnase and Jeremy Craig - 84.96%                                              $    1,341.09
 Corporate Legal Expenses          | tan-24     {Burnette Legal Group, LLC       63901    Invoice #101728                   $1,341.09
                                                |Burnette Legal Group, LLC       63901    Invoice #101748                     $435.34                                  $435.34 | Rathje Woodward                       invoice #101748                 Rathje Woodward -Invoice #101748- Barbara Mango
 Corporate Legal E>                   Jan-24
                                                                                                                                                                     $1,099.16     |Rathje Woodward                    Invoice #101748                 Rathje Woodward -Invoice #101748- Barbara Mango - 71.63%                                                                  $    1,099.16
 Corporate Legal Expenses          | Jan-24     |Burnette Legal Group, LLC       63901    Invoice #101748                   $1,099.16
                                                                                                                                                                       $169.23     |Rathje Woodward                    Invoice #101754                 Rathje Woodward -Invoice #101754- Anissa Cook 86.46%                                                                      $      146.32
 Corporate Legal Expenses          | tan-24     |Burnette Legal Group, LLC       63901    Invoice #101754                     $169.23
                                                                                                                                                                       $255.00     |Rathje Woodward                    Invoice #101759                 Rathje Woodward -Invoice #101759- John Creggitt (IL) 55.52%                                                               $      141.58
 Corporate Legal Expenses          | Jan-24     |Burnette Legal Group, LLC       63901    Invoice #101759                     $255.00
                                                                                                                                                                     $1,184.00     |Rathje Woodward                    Invoice #101760                 Rathje Woodward -Invoice #101760- Jensen (NJ} 77.74%                                                                      $      920.44
 Corporate Legal E:                   Jan-24    |Burnette Legal Group, LLC       63901    Invoice #101760                   $1,184.00
                                                                                          Invoice #101762                      $43.30                                   $43.30 | Rathje Woodward                       Invoice #101762                 Rathje Woodward -Invoice #101762-                                     {IL)
 Ci          Legal Exp:               Jan-24    |Burnette Legal Group, LLC       63901
                                                                                                                                                                        $55.70 | Rathje Woodward                       invoice #101762                 Rathje Woodward -Invoice #101762-                 {IL)- 56.26%                                                            $       55.70
 Corp        Legal Exp                Jan-24 |Burnette Legal Group, LLC          63902    Invoice #101762                      $55.70
                                                                                 63901    January Payment                     $732.00         ($732.00)                  $0.00 | Wendy Muchman Legal C                                                 Wendy           Legal Consulting - Expert Opinion
 Ci          Legal Ex                 Jan-24    |Burnette Legal Group, LLC
                                                                                                                                                                         $0.00 | Wendy Muchman Legal Consuttin:                                        Wendy             Legat Consulting - Expert Opinion - 80.48%                                                              $    3,018.00
 [oe         Legal Ex                 Jan-24    |Burnette Legal Group, LLC       63901    January Payment                   $3,018.00       ($3,018.00)
                                                                                 63901    Muc                iner   Pmt     $1,952.00       ($1,952.00)                  $0.00 | Rathje Woodward                 h         -Retainer Pmt              Rathje              ~Muchm:      jiner Pmt
 Ci          Legal Expenses        | Jan-24     |Burnette Legal Group, LLC
                                                                                                                                                                         $0.00 | Rathje Woodward                 h         -Retainer Pmt               Rathje Woodward -Muchman-Retainer Pmt - City of Chicago Case - 80.48%                                                     $    8,048.00
 Ci          Legat E                  Jan-24    |Burnette Legal Group, LLC       63801    Muchman-Retainer Pmt              $8,048.00       ($8,048.00)
                                                                                 63501    24-3006                             $208.32                                  $208.32 | Robinson, Stewart, Montgomery O Invoice #24-3006                      Robi      Stewart,         y Doppke LLC - Invoice #23-3006 - City of Chicago Case
 Ci          Legal B                  Jan-24    |Burnette Legal Group, LLC
                                                                                                                                                                       $858.90 |Robinson, Stewart, Montgomery DO Invoice #24-3006                                Stewart,         ry Doppke LLC - Invoice 423-3006 - City of Chicago Case - 80.48%                               $      858.90
 Corporate Legal E                    Jan-24    |Burnette Legal Group, LLC       63901    24-3006                             $858.90
                                                                                 63901    Invoice #101697                     $344.92                                  $344.92 | Rathje Woodward                       Invoice #101697                 Rathje    Woodward -Invoice #101697- Kalmbach Inquiry
 Corporate Legal Expenses             Jan-24    |Gardner Legal, LLC
                                                                                                                                                                     $1,422.08 | Rathje Woodward                       Invoice #101697                 Rathje Woodward -invoice #101697- Kalmbach Inquiry - 80.48%                                                               $    1,422.08
 Corporate Legal &                    Jan-24    |Gardner Legal, LLC              63901    Invoice #101697                   $1,422.08
                                                |Hallock and Associates,   LLC   63901    Invoice #101758                     $887.87                                  $887.87 | Rathje Woodward                       Invoice #101758                 Rathje Woodward -Invoice #101758- ODC (OH)
 Corporate Legal E                    Jan-24
                                                                                                                                                                     $3,660.63 | Rathje Woodward                       Invoice #101758                   Rathje Woodward -Invoice #101758- ODC {OH) - 80.48%                                                                     $    3,660.63
 C           Legal Exp                Jan-24    |Hallock and Associates, LLC     63901    Invoice #101758                   $3,660.63
                                                |Heartland Legat Group, LLP      63901    12267120                            $976.00         {$976.00)                  $0.00 | Buchanan Ingerson & Rooner            PA General           Retainer Pa| Buchanan Ingerson & Rooner - PA General Relations Retainer Payment
 Corporate Legal Expenses             Jan-24
                                                                                                                                                                         $0.00 | Buchanan Ingerson & Rooner            PA General           Retainer Paj Buchanan Ingerson & Rooner - PA General Relations Retainer Payment Invoice #12267120 - 80.48%                           $    4,024.00
  Corporate Legat Exp                 Jan-24    |Heartland Legal Group, LLP      63901    12267120                          $4,024.00       ($4,024.00)
                                                                                 63901    Invoice #101637                   $1,587.46                                $1,587.46 | Rathje Woodward                       Invoice #101637                   Rathje Woodward -Invoice #101637- Holmes, Debbie Lawsuit USDC MD TN Case #3:20-cv-00870
  Corporate Legal Exp                 Jan-24    |Heartland Legal Group, LLP
                                                                                                                                                                     $1,992.74 | Rathje Woodward                       Invoice #101637                   Rathje Woodward -invoice #101637- Holmes, Debbie Lawsuit USDC MD TN Case #3:20-cv-00870 - 55.66%                        $    1,992.74
  Corporate Legal Exp                 Jan-24    |Heartland Legal Group, LLP      63901    Invoice #101637                   $1,992.74
                                                                                 63901    Invoice #1016338                     $34.76                                   $34.76 | Rathje Woodward                       Invoice #101638                 Rathje Woodward -Invoice #101638- Garrett, Paul v Heartland Legal Group, et al. (AL)
  Corporate Legat Exp                 Jan-24    |Heartland Legal Group, LLP
                                                                                                                                                                        $62.24 | Rathje Woodward                       Invoice #101633                 Rathje Woodward -Invoice #101638- Garrett, Paul v Heartland Legat Group, et al. (AL) - 64.17%                             $       62.24
  Corporate Legat       Exp           Jan-24    |Heartland Legal Group, LLP      63901    Invoice #101638                      $62.24
                                                                                          Invoice #101680                     $134.66                                  $134.66     |Rathje Woodward                    Invoice #101680                 Rathje Woodward -Invoice #101680- Ct                                  UAMS)
  Corporate Legal B                   jJan-24   |Heartland Legal Group, LLP      63901
                                                                                                                                                                       $301.84 | Rathje Woodward                       Invoice #101680                 Rathje Woodward -Invoice #101680- Ct           (JAMS) - 69.15%                                                            $      301.84
  Corporate Legal                     Jan-24    |Heartland Legal Group, LLP      63901    Invoice #101680                     $301.84
                                                                                 63901    Invoice #101682                     $286.32                                  $286.32     |Rathje Woodward                    invoice #101682                 Rathje Woodward -Invoice #101682- McClain (OH)
 Com         Legal                    Jan-24    |Heartland Lega! Group, LLP
                                                                                                                                                                       $504.40 | Rathje Woodward                       Invoice #101682                 Rathje Woodward -Invoice #101682- McClain (OH) - 63.79%                                                                   $      504.40
 Corporate   Legal                    Jan-24    |Heartland Legal Group, LLP      63901    Invoice #101682                     $504.40
                                                                                 63901    Invoice #101688                     $227.21                                  $227.21     |Rathje Woodward                    Invoice #101688                 Rathje Woodward -Invoice #101688- PA Attorney General
 Ci          Legal 6                  Jan-24    |Heartland Legal Group, LLP
                                                                                                                                                                       $936.79     |Rathje Woodward                    Invoice #101688                 Rathje Woodward -Invoice #101688- PA Attorney General - 80.48%                                                            $      936.79
 Carporate Legal                      Jan-24    |Heartland Legal Group, LLP      63901    Invoice #101688                     $936.79
                                                                                 63901    869795                               $63.06          {$63.06)                   $0.00    |Batch Bingham LLC                  Invoice #869795                 Balch Bingham LLC - Paul Garret Case
 C           Legal                    Jan-24    |Heartland Legal Group, LLP
                                                                                                                                                                          $0.00 | Batch Bingham       LLC              Invoice #869795                 Batch Bingham LLC - Invoice #869795 Paul Garret Case - 64.17%                                                             $      112.94
 C           Legal 6                  Jan-24    |Heartland Legal Group, LLP      63901    869795                              $112.94         ($112.94)
                                                                                          3792                                $132.41         ($132.41)                   $0.00    |Thurman Legal Invoice #3791        Invoice #3794                   Thurman Legal Invoice #3791 - General          y Advise
 Corp        Legal Exp                Jan-24 | Infinite Law Group                63901
                                                                                                                                                                          $0.00    |Thurman Legal Invoice #3791        Invoice #3791                   Thurman Legal Invoice #3791 - General        y Advise - 80.48%                                                            $      545.92
 Corporate Legal E                    Jan-24 | Infinite Law Group                63901    3791                                $545.92        ($545.92)
                                                                                                                                 $6.48                                    $6.48    |Rathje Woodward                    Invoice #101752                 Rathje Woodward -Invoice #101752- Nancy Leaman Complaint to VA Bureau of Fi         Institutions
 Corporate Legal E                    Jan-24 | Infinite Law Group                63901    Invoice #101752
                                                                                                                                                                        $26.73     |Rathje Woodward                    Invoice #101752                 Rathje Woodward -Invoice #101752- Nancy Leaman Complaint to VA Bureau of Finanacial Institutions - 80.48%                 $       26.73
 Corporate Legal &                    Jan-24 | Infinite Law Group                63901    Invoice #101752                      $26.73
                                                                                          {nvoice #101732                      $56.71                                   $56.71     |Rathje                  d          Inveice #101734                 Rathje Woodward -Invoice #101731- BBB |                   figation            (FL)
 Corporate Legal £                   Jan-24    |Michel Law, LLC                  63901
                                                                                                                                                                                   |Rathje Woodward                    Invoice #101734                 Rathje Woodward -Invoice #101731- BBB |                   ligation            (FL) - 80.48%                               $      233.79
 Corporate Legal &                    Jan-24 | Michel Law, LLC                   63901    Invoice #101732                     $233.79                                  $233.79
                                                                                                                                          ($25,000.00)                    $0.00    |Connors LLP                                                        Connors LLP - Jan. Retainer Pmt                                                                                           $   20,120.00
 Corporate Legal ©                   Jan-24     |Michel Law, LLC                 63901    Jan. Retainer Pmt                $25,000.00
                                                                                                                           $75,000.00     ($75,000.00)                    $0.00    |Connors LLP                                                        Connors LLP - Jan. Retainer Pmt-2                                                                                         $   60,360.00
 Corporate Legal E                   Jan-24     |Michel Law, LLC                 63901    Jan, Retainer Pmt-2
                                                                                                                              $160.94                                  $160.94     |Rathje Woodward                    Invoice #101766                 Rathje Woodward -Invoice #101766- MN Attorney General Civil |                                          Demand
 Corporate Legal E                   Jan-24     |Northstar Legal Group, LLC      63901    (nvoice #101766
                                                                                                                                                                       $663.56     |Rathje Woodward                    Invoice #101766                 Rathje Woodward -Invoice #101766- MN Attorney General Civit                                            Demand - 80.48%    $      663.56
 Corporate Legal Expenses            Jan-24 | Northstar Legal Group, LLC         63901    {nvoice #101766                     $663.56
                                                                                                                              $315.63                                  $315.63     |Rathje        Woodward             Invoice #101745                 Rathje Woodward -inveice #101745- Lyndsey \                                          1(MN OLPR)
 Corporate Legal Expenses          | Jan-24     |Northstar Legal Group, LLC      63901    (nvoice #101745
                                                                                                                                                                       $702.87     |Rathje W            rd             Invoice #101745                 Rathje         ‘d -Invoice #101745- Lyndsey \                                        ‘(MN OLPR) - 69.01%                  $      702.87
 Corporate Legal E)                  Jan-24     |Northstar Legal Group, LLC      63901   [Invoice #101745                     $702.87
                                                                                                                               $24.89                                   $24.89     |Law Office of Eric T Cooperstein                                   Law Office of Eric T         Co p      in - Invoice #4082 - Dept. of Cr                       2 |      igation
 Corporate Legal Expenses            Jan-24     |Northstar Legal Group, LLC      63901    4082
                                                                                                                                                                       $102.61     |Law Office of Eric T Cooperstein                                   Law Office of Eric T         Co p      in - Invoice #4082 - Dept. of C       e |            1- 80.48%                     $      102.61
 Corporate Legal Expenses            Jan-24 |Northstar Legal Group, LLC.         63901    4082                                $102.61
                                                                                 63901    4083                                $124.44                                  $124.44     |Law Office of Eric T Cooperstein                                   Law Office of Eric T         Co p      in - invoice #4083 - Dept. of Commerce Investigation
 Corporate Legal Expenses          | Jan-24 | Northstar Legal Group, LLC
                                                                                                                                                                       $513.06     |Law Office of Eric T Cooperstein                                   Law Office of EricT          Co p      in - Invoice #4083 - Dept. of Commerce |                            ion - 80.48%   $      513.06
 Corporate Legal                     Jan-24 | Northstar Legal Group, LLC         63901    4083                                $513.06
                                                                                                                                $4.66                                     $4.66 | Rathje Woodward                       Invoice #101768                Rathje Woodward         -{          #101768-               Dept. of Commerce
 Corporate Legal                     Jan-24     |Rockwell Legal Group, PLLC      63901    Invoice #101768
                                                                                                                                                                        $19.19 | Rathje                 rd              invoice #101768                Rathje Woodward -Invoice #101768-                          Dept. of Commerce - 80.48%                                     $        19.19
 Corporate Legal E                   jan-24 | Rockwell Legal Group, PLLC         63901    invoice #101768                      $19.19




                                                                                                                                                                                                                                                                                                                                                                                                  Exhibit 1
                                                                                               Case 1:24-cv-00040-EAW-MJR Document 234-2 Filed 03/22/24 Page 16 of 19

                                                                                63901        Invoice #101803                     $6.26                                                  $6.26 | Rathje Woodward                    Invoice #101803                  Rathje Woodward -Invoice #101803- Patricia Hamilton, Trustee on behalf of Est. of Boggs _
 Corporate Legal Expenses       | Jan-24   |Royal Legal Group, LLC
                                                                                                                                                                                                                                   Invoice #101803                  Rathje     dward -Invoice #101803- Patricia t        Trustee on behalf of Est. of Boggs - 84.50%                               $        34,12
 Corporate Legal Expenses         Jan-24   |Royal Legat Group, LLC              63901        Invoice #101803                    $34.12                                                 $34.12 | Rathje Woodward
                                           |Royal Legal Group, LLC              63901        Invoice #101804                    $22.55                                                 $22.55 | Rathje                             Invoice #101804                  Rathje Woodward -Invoice #101804- Ilene Lashinsky Trustee OBO Joseph & Lita Paulson v. Royal Legal Group
 Corporate Legal Expenses       | Jan-24
                                                                                                                                                                                      $122.95 | Rathje                             Invoice #101804                  Rathje Woodward -Invoice #101804- ltene |                    Trustee OBO Joseph & Lita Paulson v. Royal Legal Group - 84.50%   $        122.95
 Corporate Legal Expenses       | Jan-24   |Royal Legal Group, LLC              63901        Invoice #101804                $122.95
                                                                                63901        Invoice #100757                   $46.76                                                  $46.76 | Rathje Woodward                    Invaice #100757                  Rathje Woodward -Invoice #100757- Erica Welsh f/k/a Erica Waite v. Spring Legal Group (OH)
»|Corporate Legal Exp             Jan-24   |Spring Legal Group, LLC
                                                                                                                                                                                      $318.28 | Rathje Woodward                    Invaice #100757                  Rathje Woodward -Invoice #100757- Erica Welsh f/k/a Erica Waite v. Spring Legal Group {OH) - 87.19%                            $        318.28
 Corporate Legal Expenses         Jan-24   |Spring Legal Group, LLC             63901        Invoice #100757                $318.28
                                  Jan-24   |Spring Legat Group, LLC             63901        Invoice #101757              $1,182.28                                                 $1,182.28 | Rathje Woodward                    Invaice #101757                  Rathje Woodward -Invoice #101757- Pedro Ramos Jr. (CT)
 Corp       Legal Exp
                                                                                                                                                                                    $4,682.22 | Rathje Woodward                    Invoice #101757                  Rathje Woodward     -Invoice #101757- Pedro Ramos Jr. (CT) - 79.84%                                                            $      4,682.22
 Corporate Legal Exp              Jan-24 | Spring Legat Group, LLC              63901        Invoice #101757             $4,682.22
                                                                                63901        4071                              $41.48                                                  $41.48 | Law Office of Eric T. Cooperstein, PLLC                             Law Office of Eric T. Cooperstein,  PLLC - Invoice #4071 - Ethics Defense Case
 Ci         Legal Ex              Jan-24   |Summit Law Firm, LLC
                                                                                                                                                                                      $171.02 |Law Office of Eric T. Coop:         PLLC                             Law Office of Eric T. Cooperstein, PLLC - Invoice #4071 - Ethics Defense Case - 80.48%                                         $        171.02
 Corporate Legal                  Jan-24   |Summit Law Firm, LLC                63901        4071                           $171.02
                                  Jan-24   |The Sands Law Group, LLP            63901        40854994                          $48.68                                                  $48.68    |Wilentz Attorney at Law                                           Wilentz Attorney at Law - Invoice #40854994
 Corporate Legal 6
                                                                                                                                                                                      $170.02    |Wilentz Attorney at Law                                           Wilentz Attorney at Law - Invoice #40854994 - 77.74%                                                                           $        170,02
 Corporate Legal                  Jan-24   |The Sands Law Group, LLP            63901        40854994                       $170.02
                                  Jan-24   |The Sands Law Group, LLP            63901        Invoice #101760                $263.56                                                   $263.56    |Rathje Woodward                  Invoice #101760                   Rathje          -Invoice #101760- Jensen (NJ)
                                                                                                                                                                                                                                                                                     Wo dward
 Corporate Legal
                                                                                                                                                                                      $920.44 | Rathje Woodward                    Invoice #101760                   Rathje Woodward -Invaice #101760- Jensen (NJ}- 77.74%                                                                         $        920,44
 Corporate Legal Expenses       | Jan-24   |The Sands Law Group, LLP            63901        Invoice #101760               $920.44
                                  Jan-24   |White Oak Law Group                 63901        1099                          $687.75                                                    $687.75 | Chris Nybo LLC invoice #1099       Invoice #1099                     Chris Nybo LLC Invoice #1099 - January Services
 Corporate Legal B
                                  Jan-24   |White Oak Law Group                 63901        1099                           $244.00                                                   $244.00    |Chris Nybo LLC Invoice #1099     Invoice #1099                     Chris Nybo LLC Invoice #1099 - January Services
 Corporate Legal B

                                                                                                                                                                               OpenBalance       Vendor                            Memo                              Expense Memo                                                                                                                  SFS Contribution
 Account Name                      Date    LawFirm                          Account Number   Ref Number               Amount             Payment              PartialPayment
                                                                                                                                                                       $0.00        $3,649.00                                                                                                                                                                                                      $   133,732.73
 Cc         LegalExpenses         Dec-23                                                                                $182,826.96        ($179,177.96)
                                                                                63901        40849123                      $588.70              {$588.70                                $0.00    |Wilentz Attorney at Law          Invoice #40849123                ‘Wilentz Attorney at Law - Invoice #40849123 - State of NJ case
 Corporate Legal Expenses       | Dec-23 | Anchor Law Firm PLLC
                                                                                                                                                                                        $0.00    |Wilentz Attorney at Law          Invoice #40849123                Wilentz Attomey at Law - Invoice #40849128 - State of NJ case - 80.48%                                                         $      2,427.20
 Corporate Legal Exp              Dec-23 | Anchor Law Firm PLLC                 63901        40849123                     $2,427.20           ($2,427.20)
                                                                                63901        40853229                     $1,210.75           {$1,210.75}                               $0.00    |Wilentz Attorney at Law           Invoice #40853229                Wilentz Attomey at Law - Invoice #40853229 - State of NJ case
 Corporate Legal Expenses       | Dec-23 | Anchor Law Firm PLLC
                                                                                                                                                                                        $0.00    |Wilentz Attomey at Law            Invoice #40853229                Wilentz Attomey at Law - Invoice #40853229 - State of NI case - 80.48%                                                        $      4,991.85
 ‘Corporate Legal Exp             Dec-23 | Anchor Law Firm PLLC                 63901        140853229                    $4,991.85           ($4,991.85)
                                                                                63901        Invoice #100397                $126.17            ($126.17)                                $0.00 | Rathje Woodward                     Invoice #100397                  Rathje Woodward -Invoice #100397- Myra and Theodolph Faulkner, et al v. Anchor Law Firm, PLLC, et al. (CT)
 Corporate Legal Exp              Dec-23 | Anchor Law Firm PLLC
                                                                                                                                                                                        $0.00    |Rathje            d               Invoice #100397                  Rathje Woodward -Invoice #100397- Myra and Theodolph     Faulkner, et aly. Anchor Law Firm, PLLC, et al. (CT) - 85.61%        $        750.65
 Corporate Legal E>               Dec-23 | Anchor Law Firm PLLC                 63901        Invoice #100397                $750.65             ($750.65)
                                  Dec-23 | Anchor Law Firm PLLC                 63901        Invoice #100398                   $37.87              ($37.87)                             $0.00 | Rathje       Wi     d               Invoice #100398                  Rathje Woodward -tnvoice #100398- NJ Bar Complaint re: Andrew Carrott
 Corp’      Legal B
                                                                                                                                                                                        $0.00 | Rathje Woodward                     Invoice #100398                  Rathje    Woodward -Invoice #100398- NJ Bar C:       te: Andrew Carroll - 80.48%                                              $        156.13
 Corp       Legal                 Dec-23 | Anchor Law Firm PLLC                 63901        Invoice #100398                $156.13             ($156.13)
                                                                                63901        723                            $156.16             ($156.16)                               $0.00    |NJ Office of Attorney Ethics      Invoice #723                     NIJ Office of              y Ethics - Disciplinary Gri
 Corp       Legal E               Dec-23 | Anchor Law Firm PLLC
                                                                                                                                                ($643.84)                               $0.00 | Ringler Law Firm                    Invoice #723                     Ringler Law Firm - Invoice #723 - for NJ Office of Attorney Ethics - Disciplinary Grievance - 80.48%                          $       643.84
 Corp       Legal                 Dec-23 |Anchor Law Firm PLLC                  63901        723                           $643.84
                                                                                63901        881                            $195.20             ($195.20)                               $0.00 | NI Office of Attorney Ethics        Invoice #881                     NJ Office of Attorney Ethics - Disciptinary Gri
 Corp       Legat Expen:          Dec-23   |Anchor Law Firm PLLC
                                                                                                                                                                                        $0.00 | Ringler Law Firm                    Invoice #881                     Ringler Law Firm - Invoice #881 - for NJ Office of Attorney Ethics - Disciplinary Grievance - 80.48%                          $        804.80
 Corp       Legat Expen:          Dec-23 | Anchor Law Firm PLLC                 63901        881                           $804.80              ($804.80)
                                  Dec-23 | BedRock Legal, PLLC                  63901        INVCUS1830166411942            $113.79             ($113.79)                               $0.00    |Legal Consulting Fees             INVCUS1830166411942              Consilio - INVCUS1830166411942
 Ce         Legal Expen:
                                                                                                                                                                                        $0.00    |Consilio                          INVCUS1830166411942              Consilio - INVCUS1830166411942 - Legal Consulting Fees - 80.48%                                                               $       469.14
 Ce         Legal Expen:          Dec-23 | BedRock Legal, PLLC                  63901        INVCUS1830166411942           $469.14              ($469.14)
                                | Dec-23 | Boulder Legat Group, LLC             63901        Invoice #100401                $128.79             ($128.79)                               $0.00 | Rathje Woodward                     Invoice #100401                Rathje Woodward -Invoice #100401- Amel Soltani v. Boulder Legal Group, LLC et al.
 Corporate LegalExpenses
                                                                                                                                                                                        $0.00 | Rathje Woodward                     Invoice #100401                Rathje Woodward    -Invoice #100401- Amel Soltani v. Boulder Legal Group, LLC et al. - 80.92%                                   $        546.22
 Corporate LegalExpenses        | Dec-23   |Boulder Legat Group, LLC            63901        Invoice #100401               $546.22              ($546.22)
                                                                                                                                                                                        $0.00 | Rathje Woodward                     66758, 66757, 100224, 100223 |   66758, 66757, 100224, 100223- Amel Soltani v. Boulder Legal Group, LLC et at. - 80.92%                                        $     12,999.63
 Corporate Legal E                Dec-23 | Boulder Legal Group, LLC             63901        December Pmt                $16,064.79         ($16,064.79)
                                  Dec-23 | Burnette Legal Group, LLC            63901        Dec.        iner   Pmt         $976.00             ($976.00)                               $0.00 | Hemming Morse LLP                   Retainer Pmt                   t       ing Morse LLP - Retainer Pmt - City of Chicago Case
 Cory       Legal E:
                                                                                                                                                                                        $0.00 | Hemming Morse LLP                   Retainer Pmt                   t       ing Morse LLP - Retainer Pmt - City of Chicago Case - 80.48%                                                            $      4,024.00
 Ci         Legal E               Dec-23 | Burnette Legal Group, LLC            63901        Dec. Retainer Pmt            $4,024.00           ($4,024.00)
                                                                                63901        Invoice #100447              $9,023.87           {$9,023.87)                               $0.00 | Rathje              d               Invoice #100447                  Rathje     Wo dward -Invoice #100447- City of Chicago Department of Law
 Ce         Legal E:              Dec-23 | Burnette Legal Group, LLC
                                                                                                                                                                                        $0.00 | Rathje Woodward                     Invoice #100447                  Rathje Woodward -Invoice #100447- City of Chicago Dep            of Law                     - 80.48%                          $     37,204.97
 C          Legal Expen:          Dec-23 | Burnette Legal Group, LLC            63901        Invoice #100447             $37,204.97         ($37,204.97)
                                                                                63901        Invoice #100446                   $49.55              ($49.55]                             $0.00 | Rathje Woodward                     Invoice #100446                  Rathje Woodward -Invoice #100446- Briggs (IL)
 Ci         LegalExpenses       | Dec-23   |Burnette Legal Group, LLC
                                                                                                                                                                                        $0.00 | Rathje Woodward                     Invoice #100446                  Rathje Woodward -Invoice #100446- Briggs (IL) - 65.43%                                                                        $         93.77
 Ci         Legat Expen:          Dec-23 | Burnette Legal Group, LLC            63901        Invoice #100446                    $93.77             ($93.77)
                                  Dec-23 |Burnette Legal Group, LLC             63901        Invoice #100449                    $18.33             ($18.33)                             $0.00 | Rathje Woodward                     Invoice #100449                  Rathje Woodward -Invoice #100449- Ronnie and Monica Qui
 Corporate Legat E:
                                                                                                                                                                                        $0.00 | Rathje Woodward                     Invoice #100449                  Rathje Woodward -Invoice #100449- Ronnie and Monica Qui                      - 82.92%                                         $         88.99
 Corporate Legal Expenses       | Dec-23  |Burnette Legal Group, LLC            6as01        Invoice #100449                   $88.99              ($88.99)
                                | Dec-23 [Burnette Legal Group, LLC             63901        Invoice #100443                $360.26             ($360.26)                               $0.00 | Rathje Woodward                     Invoice #100443                  Rathje Woodward -Invoice #100443- Alan and Ronda G:
 Corporate Legal E:     es
                                                                                                                                                                                        $0.00 | Rathje Woodward                     Invoice #100443                  Rathje Woodward -Invoice #100443- Alan and Ronda Gi                      - 93.02%                                             $      4,801.06
 Corporate Legal E         es   | Dec-23 [Burnette Legal Group, LLC             63901        Invoice #100443              $4,801.06           ($4,801.06)
                                | Dec-23   |Burnette Legal Group, LLC           63901        Invoice #100445                    $30.45             ($30.45)                             $0.00 | Rathje Woodward                     Invoice #100445                  Rathje Woodward -Invoice #100445- Barbara Mango
 Corporate Legal Expenses
                                                                                                                                                                                        $0.00 | Rathje Woodward                     Invoice #100445                  Rathje Woodward -Invoice #100445- Barbara Mango - 73.6396                                                                     $         76.87
 Corporate Legal Expenses       | Dec-23   |Burnette Legal Group, LLC           63901        Invoice #100445                    $76.87             ($76.87)
                                  Dec-23   |B        Legal Group, LLC           63901        Invoice #100448                $667.23             ($687.23)                                $0.00 | Rathje Woodward                    Invoice #100448                  Rathje Woodward -Invoice #100448- Katherine Hicks
 Ci         Legal Exp
                                                                                                                                                                                         $0.00 | Rathje Woodward                    Invoice #100448                  Rathje Woodward -tnvoice #100448- Katherine Hicks - 44.25%                                                                    $        529.59
 Corporate Legal Exp              Dec-23 | Burnette Legal Group, LLC            63901        Invoice #100448                $529.59             ($529.59)
                                | Dec-23 | Burnette Legal Group, LLC            63901        Invoice #100444.             $1,442.32           ($1,442.32)                                $0.00 | Rathje Woodward                    Invoice #100444.                 Rathje Woodward -Invoice #100444- Anissa Cook
 Corporate Legal Expenses
                                                                                63901        12273                             $113.31          ($113.31)                                $0.00   |Redgrave                                                           Redgrave - Invoice #12273 - Data security Incident matter.
 Corp       Legal Exp:            Dec-23 |[Bumette Legal Group, LLC
                                                                                                                                                                                         $0.00   |Redgrave                                                           Redgrave - Invoice #12273 - Data security Incident matter.. - 80.48%                                                          $        467.19
 Corp       Legal Exp             Dec-23 | Burnette Legal Group, LLC            63901        12273                         $467.19              ($467.19)
                                  Dec-23 | Burnette Legal Group, LLC            63901        12489                             $113.31          ($113.31)                                $0.00   [Redgrave                                                           Redgrave - Invoice #12489 - Data security Incident matter.
 Corp       Legal Exp
                                                                                                                                                                                         $0.00   |Redgrave                                                           Redgrave - Invoice #12489 - Data security Incident matter.. - 80.48%                                                          $        467.19
 Corp       Legal Expens          Dec-23 | Burnette Legal Group, LLC            63901        12489                         $467.19              ($467.19)
                                                                                63901        12213                        $1,032.41           ($1,032.41)                                $0.00   |Redgrave                                                           Redgrave - Invoice #12213 - Data security Incident matter.
 Corp       Legal E               Dec-23 | Burnette Legal Group, LLC
                                                                                                                                                                                         $0.00   |Redgrave                                                           Redgrave - Invoice #12213 - Data security Incident matter.. - 80.48%                                                          $      4,256.59
 Corporate Legat                  Oec-23 | Burnette Legal Group, LLC            63901        22243                        $4,256.59           ($4,256.59)
                                                                                                                                                   ($51.69)                              $0.00 | Rathje Woodward                    Invoice #100403                  Rathje Woodward -Invoice #100403- Abron Toure - Hawaii Office of Disciplinary Counsel C     Lai
 Carporate Legat                  Oec-23 | Canyon Legat Group, LLC              63901        Invoice #100403                    $51.69
                                                                                                                                                                                         $0.00   |Rathje Woodward                   Invoice #100403                  Rathje Woodward -Invoice #100403- Abron Toure - Hawaii Office of Disciplinary Counsel Complaint - 80.48%                      $        213.12
 Corporate Legal &                Dec-23 | Canyon Legal Group, LLC              63901        Invoice #100403                   $213.12          ($213.12)
                                  Dec-23 | Canyon Legal Group, LLC              63901        Invoice #100405                     $8.89              ($8.89)                              $0.00 | Rathje Woodward                    Invoice #100405                  Rathje Woodward -Invoice #100405- Debrah Farentino
 Corporate Legal E:
                                                                                                                                                                                         $0.00   |Rathje Woodward                   Invoice #100405                  Rathje Woodward -Invoice #100405- Debrah Farentino - 91.72%                                                                   $         98.43
 Carporate Legal Ex;              Dec-23 | Canyon Legal Group, LLC              63901        Invoice #100405                    $98.43             ($98.43)
                                                                                63901        Invoice #100407                   $971.08          ($971.08)                                $0.00 | Rathje Woodward                    Inveice #100407                  Rathje Woodward -Invoice #100407- BBB                      PA
 Corporate Legal E:               Dec-23 | Dakis Legal Group, LLC
                                                                                                                                                                                         $0.00 | Rathje                 d           Invoice #100407                  Rathje Woodward -Invoice #100407- BBB                      PA - 80.48%                                                        $      4,003.69
 Corporate Legal B                Dec-23 | Dakis Legal Group, LLC               63901        Invoice #100407              $4,003.69           ($4,003.69)
                                | Dec-23 | Gardner Legal, LLC                   63901        Invoice #100436                   $148.80          ($148.80)                                $0.00   |Rathje Woodward                   invoice #100436                  Rathje Woodward -Invoice #100436- Kalmbach Inquiry
 Corporate Legal Expenses
                                                                                                                                                                                         $0.00   |Rathje            d               Invoice #100436                  Rathje Woodward -Invoice #100436- Kalmbach Inquiry - 80,                                                                      $        613.51
 Corporate Legal E                Dec-23   |Gardner Legal, LLC                  63901        Invoice #100436               $613.51              ($613.51)
                                                                                63901        Invaice #100459                    $59.03             ($59.03)                              $0.00   |Rathje\               d           Invoice #100459                  Rathje Woodward -Invoice #100459- John Schmutzer v. Option 4 Legal (OH)
 Corporate Legal B                Dec-23   |Gardner Legal, LLC
                                                                                                                                                                                         $0.00   |Rathje Woodward                   Invoice #100459                  Rathje Woodward -Invoice #100459- John Schmutzerv. Option 1 Legal {OH) - 67.08%                                               $        120.28
 Corporate Legal E:               Dec-23   |Gardner Legal, LLC                  63901        Invoice #100459                   $120.28          ($120.28)
                                                                      LLC       63901        Invoice #100426               $349.41              ($349.41)                                $0.00   |Rathje Woodward                   Invoice #100426                  Rathje Woodward -Invoice #100426- ODC (OH)
 Corporate Legal B                Dec-23 | Hallock and Assi
                                                                                                                                                                                         $0.00   |Rathje Woodward                   Invoice #100426                  Rathje Woodward -Invoice #100426- ODC (QH} - 80.48%                                                                           $      1,440.59
 Corporate Legal Expenses       | Dec-23 | Hallock and Associates, LLC          63901        Invoice #100426              $1,440.59           ($1,440.59)
                                                                                63901        Settl-McClain               $12,434.51          ($12,434.51)                                $0.00   |Rathje Woodward                   Settlement McClain               Rathje Woodward - LaVerda McClain -                   ke   (OH)
 Corporate Legal &                Dec-23 |Heartland Legal Group, LLP
                                                                                                                                                                                         $0.00   |Rathje Woodward                   Settlement McClain               Rathje Woodward - LaVerda McClain -                  tk    {OH)   - 63.79%                                                    $     21,905.49
 Corporate Legal E:               Dec-23 | Heartland Legal Group, LLP           63901        Settl-McClain               $21,905.49          {$21,905.49}
                                                                                63901        1428045                           $742.30                                                $742.30    |Roetzel & Andress LPA             Invoice #1428045                 Roetzel & Andress LPA - Invoice #1428045 McClain Case
 Corporate Legal E                Dec-23 | Heartland Legal Group, LLP




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                                                                                              Case 1:24-cv-00040-EAW-MJR Document 234-2 Filed 03/22/24 Page 17 of 19
                                                                                                                                                                                                                            Invoice #1428045                 Roetzel & Andress LPA - Invoice #1428045 - McClain Case - 63.79%                                                                   $         1,307.70
                              | Dec-23   |Heartland Legal Group, LLP        63901         1428045                   $1,307.70                                                 $1,307.70    |Roetzel & Andress LPA
 Corporate Legal Expenses
                                                                            63901         1431236                    $356.31                                                    $356.31    |Roetzel & Andress LPA           Invoice #1431236                 Roetzel & Andress LPA - Invoice #1431236- McCtain Case
 Corporate Legal Expenses       Dec-23 | Heartland Legal Group, LLP
                                                                                                                                                                                                                            Invoice #1431236                 Roetzel & Andress LPA - Invoice #1431236 - McClain Case - 63.79%                                                                   $           627.69
                                Dec-23 | Heartland Legal Group, LLP         63901         1431236                    $627.69                                                    $627.69    |Roetzel & Andress LPA
 Corporate Legal E>
                                                                                          Invoice #100429            $184.90            {$184.90}                                 $0.00 | Rathje Woodward                   Invoice #100429                  Rathje     Woodward -Invoice #100429- Holmes, Debbie Lawsuit USDC MD TN Case #3:20-cv-00870
 Corporate Legal Exp            Dec-23 | Heartland Legal Group, LLP         63901
                                                                                                                                                                                                                            Invoice #100429                  Rathje Woodward -Invoice #100429- Holmes, Debbie Lawsuit USDC MD TN Case #3:20-cv-00870 - 55.66%                                   $           242.10
                        Exr     Dec-23 |Heartland Legal Group, LLP          63901         invoice #100429            $232.10            {$232.10}                                 $0.00 | Rathje Woodward
"|Corporate Legal
                                                                                                                         $99.97              {$99.97}                             $0.00 | Rathje Woodward                   Invoice #100428                  Rathje             1 -invoice #100428- Garrett, Paul v Heartland Legal Group, et al. (AL)
 Corporate Legal                Dec-23 | Heartland Legal Group, LLP         63901         Invoice #100428
                                                                                                                                                                                                                            Invoice #100428                  Rathje Woodward -Invoice #100428- Garrett, Paul v Heartland Legal Group, et al. (AL) - 64.17%                                      $           179.03
                                Dec-23 | Heartland Legal Group, LLP         63901         invoice #100428             $179.03            ($179.03)                                $0.00 | Rathje Woodward
 Corporate Legal Exp
                                                                                                                         $87.61              ($87.61)                             $0.00 | Rathje Woodward                   tnveice #200427                  Rathje Woodward -Invoice #100427-           Cumberledge     (JAMS)
 Corporate Legal Ex             Dec-23 | Heart!     Legal Group, LLP        63904         Invoice #100427
                                                                                                                                                                                                                            Invoice #100427                  Rathje Woodward -Invoice #100427- Cumberledge (JAMS) - 69.15%                                                                      $           196.39
                                Dec-23 | Heartland Legal Group, LLP         63901         Invoice #100427             $196.39            ($196.39)                                $0.00 | Rathje Woodward
 Corporate Legal Ey
                                                                                          Invoice #100430           $1,064.33          ($1,064.33)                                $0.00 | Rathje Woodward                   Invoice #100430                  Rathje Woodward -Invaice #100430- McClain (QOH)
 Ci          Legal Ex           Dec-23 |Heartland Legal Group, LLP          63901
                                                                                                                                                                                                                            Invoice #100430                  Rathje Woodward -Invoice #100430- McClain (OH) - 63.79%                                                                            $         1,874.99
             Legal E>           Dec-23 | Heartland Legal Group, LLP         63901         Invoice #100430           $1,874.99          ($1,874.99)                                $0.00 | Rathje Woodward
 Ce
                                                                            63901         Invoice #100431                $46.13              ($46.13)                             $0.00    |Rathje                  d       Invoice #100431                  Rathje Woodward -Invoice #100431- PA Attorney General
 Corporate Legal ©              Dec-23 |Hea       d Legal Group, LLP.
                                                                                                                                                                                                                            (Invoice #100431                 Rathje Woodward -Invoice #100431- PA Attorney General - 80.4896                                                                    $           190.18
                                Dec-23 | Heartland Legal Group, LLP         63901         Invoice #100431             $190.18            ($190.18)                                $0.00 | Rathje            dward
 Corporate Legal E:
                                                                            63901         Invoice #100432                $20.95              ($20.95)                             $0.00 | Rathje            dward           Invoice #100432                  Rathje Woodward -Invoice #100432- PA AG (Morenus)
 Corporate   Legal B            Dec-23 | Heartland Legal Group, LLP
                                                                                                                                                                                                                            invoice #100432                  Rathje Woodward -Invoice #100432- PA AG {f         3) - 80.48%                                                                     $            86.37
                                Dec-23 | Heartland Legal Group, LLP         63901         (Invoice #100432               $86.37              ($86.37)                             $0.00 | Rathje         Woodward
 Corporate Legal Exp
                                                                            63901         1437260                     $103.92                                                   $103.92    |Roetzet & Andress LPA           Invoice #1437260                 Roetzel & Andress LPA - Invoice #1437260 McClain Case
 Corr      Legal By             Dec-23 | Heartland Legal Group, LLP
                                                                                                                                                                                                                            Invoice #1437260                 Roetzel & Andress LPA - tnvoice #1437260 - McClain Case - 63.79%                                                                   $           183.08
                              | Dec-23 | Heartland Legal Group, LLP         63901         1437260                     $183.08                                                   $183.08    |Roetzel & Andress LPA
 Corporate LegalExpenses
                                                                            63901         1439978                     $118.77                                                   $118.77      |Roetzel & Andress LPA         Invoice #1439978                 Roetzel & Andress LPA - Invoice #1439978 McClain Case
 Ci          Legal Ey           Oec-23 | Heartland Legal Group, LLP
                                                                                                                                                                                                                            invoice #1439978                 Roetzel & Andress LPA - Invoice #1439978 - McClain Case - 63.79%                                                                   $           209.23
             Legal B            Dec-23 | Heartland Legal Group, LLP         63901         1439978                     $209.23                                                   $209.23 | Roetzel & Andress LPA
 Ce
                                                                            63901         868526                      $173.42            ($173.42)                                $0.00      |Balch Bingham LLC             Invoice #868526                  Balch Bingham LLC - Paut Garret Case
 Corporate Legal &              Dec-23 | Heartland Legal Group, LLP
                                                                                                                                                                                                                            Invoice #868526                  Balch Bingham LLC - Invoice #8       Paul Garret Case - 64.17%                                                                     $           310.58
                                Dec-23 | +         i Legat Group, LLP       63901         868526                      $310.58            ($310.58)                                $0.00      |Balch Bingham LLC
 (e          Legal E
                                                                            63901         3766                       $499.22             ($499.22)                                $0.00    |Thurman Legal invoice #3766     Invoice #3766                    Thurman Legal invoice #3766 - General Regulatory Advise
 Corporate Legal B              Dec-23 | infinite Law Group
                                                                                                                                                                                                                            Invoice #3766                    Thurman Legal Invoice #3766 - General Regulatory Advise - 80.48%                                                                   $         2,058.28
                                Dec-23 | Infinite Law Group                 63901         3766                      $2,058.28          ($2,058.28)                                $0.00    [Thurman Legal Invoice #3766
 Ci          Legal Exp'
                                                                                                                      $871.04            ($871.04)                                $0.00 | Rathje Woodward                   Invoice #100435                  Rathje Woodward -Invoice #100435- Nancy Leaman C:                           to VA Bureau of Finanacial Insti
 Corporate Legal Expenses     | Dec-23 |tnfinite Law Group                  63901         Invoice #100435
                                                                                                                                                                                                                            {Invoice #100435                 Rathje Woodward -Invoice #100435- Nancy Leaman C:       laint               to VA Bureau of Finanacial          ‘ions   - 80.48%   $         3,591.28
                                Dec-23 | infinite Law Group                 63901        [Invoice #100435           $3,591.28          ($3,591.28)                                $0.00 | Rathje Woodward
 (eo         Legal Exp
                                                                                                                                             ($27.23)                             $0.00 | RathjeWi               td         Invoice #100440                  Rathje Woodward -l       #100440- BBB      igation (FL)
 Corporate Legal Expenses     | Dec-23 | Michel Law, LLC                    63901         Invoice #100440                 $27.23
                                                                                                                                                                                                                            Invoice #100440                  Rathje        dward -Invoice #100440- BBB                        (FL) - 80.48%                                                     $           112.27
             Legal Exp          Dec-23 | Michel Law, LLC                    63901         Invoice #100440             $112.27            {$112.27}                                $0.00 | Rathje Woodward
 Ce
                                                                                                                                                                                  $0.00 | Rathje Woodward                   invoice #100455                  Rathje Woodward      -Invoice #100455- MN                 y General Civil                     Demand
 Ce          Legal Exp          Dec-23 | Northstar Legal Group, LLC         63901         Invoice #100455                 $20.95             {$20.95}
                                                                                                                                                                                                                            Invoice #100455                   Rathje Woodward -Invoice #100455- MN Attorney General Civil                      igative     Demand - 80.48%                      $            86.37
             Legal Exp          Dec-23 | Northstar Legal Group, LLC         63901         Invoice #100455                $86.37              ($86.37)                             $0.00 | Rathje Woodward
 C
                                                                                                                                                                                  $0.00      |Rathje Woodward               Invoice #100456                   Rathje Woodward -Invoice #100456- Susan Kusz C     taint to                                OLPR
 [e          Legal Exp          Dec-23 | Northstar Legal Group, LLC         63901         Invoice #100456                $49.08              ($49.08)
                                                                                                                                                                                                                            Invoice #100456                   Rathje Woodward -Invoice #100456- Susan KuszCs     faint to                                OLPR - 54.26%                          $            58.23
                                Dec-23 | Northstar Legal Group, LLC         63901         Invoice #100456                 $58.23             {$58.23}                             $0.00 | Rathje Woodward
 Ci          Legal Exp
                                                                                          Invoice #100465                 $20.95             ($20.95)                             $0.00 | Rathje Woodward                   Invoice #100465                   Rathje Woodward -Invoice #100465- CID {AZ}
 Ci          Legal E            Dec-23 | Rockwell Legal Group, PLLC         63901
                                                                                                                                                                                                                            Invoice #100465                   Rathje Woodward -Invoice #100465- C1D (AZ) - 80.48%                                                                               $            86.36
                                                                            63901         Invoice #100465                $86.36              ($86.36)                              $0.00 | Rathje                   d
 Corporate Legal B              Oec-23 | Rockwell Legal Group, PLLC
                                                                                          Invoice #100466                $57.26              ($57.26)                              $0.00 | Rathje                   d       Invoice #100466                   Rathje           ward -Invoice #100466-                  Dept. of C
 Corporate Legal ©              Dec-23 | Rockwell Legal Group, PLLC         63901
                                                                                                                                                                                                                             Invoice #100466               Rathje Woodward -Invoice #100466- Mi         Dept. of Commi        - 80.48%                                                          $           236.06
                                         |Rockwell Legal Group, PLLC        63901         Invoice #100466             $236.06            ($236.06)                                 $0.00 | Rathje                   d
 Corp        Legal              Dec-23                                                                                                                                                                                                                                                                                                                                                                    5,589.44
                                                                                                                                                                                                                             100272 100271 66785 100273 10 Rathje - MN Dept. Of Cc          100272 100271 66785 100273 100465 66871 100466 66784 80.48%                                         $
                                Dec-23   |Rockwell Legal Group, PLLC        63901         D           Payment       $6,945.13          {$6,945,13)                                 $0.00 | Rathje Woodward
 Corporate Legal
                                                                                          Invoice #100474             $194.95            ($194.95)                                 $0.00 | Rathje Woodward                   Invoice #100474               Rathie Woodward -Invoice #100474- Erica Welsh f/k/a Erica Waite v. Spring Legal Group (OH)
 Corporate Legal                Dec-23 | Spring Legal Group, LLC            63901
                                                                                                                                                                                                                             Invaice #100474               Rathje Woodward -Invoice #100474- Erica Welsh f/k/a Erica Waite v. Spring Legal Group (OH) - 87.19%                                  $         1,326.87
                                Dec-23 | Spring Legat Group, LLC            63901         Invoice #100474           $1,326.87          ($1,326.87)                                 $0.00 | Rathje Woodward
 Corporate Legal Exp:
                                                                            63901         Invoice #100473            $826.85             {$826.85)                                 $0.00 | Rathje Woodward                   Inveice #200473               Rathje Woodward -Invoice #100473- Pedro Ramos Ir. (CT)
 Corporate Legal Exp:           Dec-23 | Spring Legal Group, LLC
                                                                                                                                                                                                                             Invoice #100473                  Rathje Woodward -Invaice #100473- Pedro Ramos Jr, (CT) - 79.84%                                                                   $         3,273.65
                                                                            63901         Invoice #100473           $3,273.65          ($3,273.65)                                 $0.00 | Rathje                       d
 Corporate Legal ©              Dec-23 | Spring Legal Group, LLC
                                                                                          o           Payment      $5,622.32           ($5,622.32)                                 $0.00 | Rathje Woodward                   Invoice #100474, 100473          Rathje Woodward -Invoice #100474- Erica Welsh f/k/a Erica Waite v. Spring Legal Group {OH)
 Corporate Legal B              Dec-23 | Spring Legal Group, LLC            63901
                                                                                                                          $20.95             {$20.95)                              $0.00 | Rathje Woodward                   Invoice #100487                  Rathje Woodward -Invoice #100487-                        to WY AG Subpoena, Subp. #1982
 Corporate Legal B              Dec-23 |Summit Law Firm, LLC                63902         Invoice #100487
                                                                                                                                                                                                                             Invoice #100487                  Rathje Woodward -Invoice #100487-            to WY AG Subpoena, Subp. #1982 - 80.48%                                              $            86.36
                                Dec-23   |Summit Law Firm, tLC              63901         Invoice #100487                 $86.36             {$86.36)                              $0.00 | Rathje Woodward
 Corporate Legal B
                                                                                          Invoice #100486                 $30.40             ($30.40)                              $0.00 | Rathje Woodward                   Invoice #100486                  Rathje Woodward -Invoice #100486- Boller (MN AG)
 Corporate Legal E              Dec-23   |Summit Law Firm, LLC              63904
                                                                                                                                                                                                                             Invoice #100486                  Rathje Woodward -Invoice #100486- Boller (MN AG) - 71.67%                                                                         $            76.92
 Corporate Legal B              Dec-23   |Summit Law Firm, LLC              63901         Invoice #100486                 $76.92             ($76.92)                              $0.00 | Rathje Woodward
                                                                            63901         Dec. Expense Reim           $357.24            ($357.24)                                 $0.00     |AAA Payment                    Expense Reimbursement            AAA Payment - John R. Lom Case
 Corporate Legal &              Dec-23   |Summit Law Firm, LLC
                                                                                                                                                                                                                             Expense Rei                      AAA Payment - John R. Lom Case - 80.48%                                                                                           $         1,472.88
                                Dec-23   |Summit Law Firm, LLC              63901         Dec. Expense Reim         $1,472.88          ($1,472.88)                                 $0.00     |AAA Payment
 Corporate Legal B
                                                                                          Invoice #6957450            $354.55            ($354.55)                                 $0.00 | JAMS Payment for Kirktand Case                                     JAMS Payment for Kirkland Case
 Corporate Legal Expenses     | Dec-23   |Summit Law Firm, LLC              63901
                                                                                                                                                                                                                                                              JAMS Payment for Kirkland Case - 79.74%                                                                                           $         1,395.45
                              | Dec-23   |Summit Law Firm, LLC              63901         Invoice #6957450          $1,395.45          ($1,395.45)                                 $0.00 | JAMS Payment for Kirkland Case
 Corporate Legal Expenses                                                                                                                                                                                                                                                                                                                                                                       $         3,575.04
                                                                                          December Payment          $4,988.15          ($4,988.15)                                 $0.00 | Rathje Woodward                   66790, 66513, 100287, 100487,    |Rathje Woodward -Invoice #66790- Boller (MN AG)66790, 66513, 100287, 100487, 100486, 100286, 66791
 Corporate Legal Expenses     | Dec-23   |Summit Law Firm, LLC              63901
                                                                            63901         Invoice #100485                 $25.20             ($25.20)                              $0.00     |Rathje Woodward                Invoice #100485                  Rathje Woodward -Invoice #100485- Terry Hinds
 Corporate Legal Expenses     | Dec-23   |The Sands Law Group, LLP
                                                                                                                                                                                                                             Invaice #100485                  Rathje Woodward -Invoice #100485- Terry Hinds - 76.52%                                                                            $            $2.11
 Corporate Legal B              Dec-23   |The Sands Law Group, LLP          63901         Invoice #100485                 $82.11             ($82.11)                              $0.00 | Rathje Woodward
                                                                            63901         23-3132                        $114.19         ($114.19)                                 $0.00 |        Robi     Stewart                                            Robinson Stewart - invoice #23-3132 - Ethics Consult
 Corporate Legal E              Dec-23   |White Oak Law Group
                                                                                                                                                                                                                                                              Robinson Stewart - Invoice #23-3132 - Ethics Consult - 80.48%                                                                     $           470.81
                                Dec-23   |White Oak Law Group               63901         23-3132                     $470.81            ($470.81)                                 $0.00 | Robi            Stewart
 Corporate Legal &
                                                                                          1080                           $381.00         ($381.00)                                 $0.00 | Chris Nybo LLC Invoice #1080      invoice #1080                    Chris Nybo LLC Invoice #1080 - December Services
 Corporate Legal Exp            Dec-23 | White Oak Law Group                63901
                                                                                          1080                           $244.00         ($244.00)                                 $0.00 | Chris Nybo LLC Invoice #1080      Invoice #1080                    Chris Nybo LLC Invoice #1080 - December Services
 Corporate Legal Exp            Dec-23   |White Oak Law Group               63901
                                                                            63901         Dec. E        Reim             $136.37         ($138.37)                                 $0.00     |AAA Payment                    D     ber Payment                AAA Payment - Falluca Case
 Corporate Legal Exp            Dec-23 |White Oak Law Group                                                                                                                                                                                                                                                                                                                                     $           562.25
                                                                            63901         Dec. Exp      Reim             $562.25         {$562.25}                                 $0.00     |AAA Payment                    December Payment                 AAA Payment - Falluca Case - 80.48%
 Ce        Legal Exp            Dec-23 |White Oak Law Group

                                                                                                                                                                                                                             Memo                             Expense Memo                                                                                                                      SFS Contribution
                                 Date    LawFirm                        Account Number    Ref Number            Amount             Payment               PartialPayment   OpenBalance        Vendor
 Account Name
                                                                                                                                                                                   $0.00                                                                                                                                                                                                        $       125,423.77
|Corporate Legal Expenses       Nov-23                                                                            $157,599.02        ($157,599.02)
                                                                                          Invoice #100219                 $18.78             {$18.78}                              $0.00 | Rathje Woodward                   Invoice #100219                  Rathje Woodward -Invoice #100219- Myra and Theodoiph Fautkner, et alv. Anchor Law Firm, PLLC, et at. (CT)
 Corp        Legal              Nov-23   |Anchor Law Firm PLLC              63901
                                                                                                                                                                                                                             Invoice #100219                  Rathje Woodward -Invoice #100219- Myra and Theodolph     Faulkner, et al v. Anchor Law Firm, PLLC, et al. (CT) - 85.61%               $       111.71
                                Nov-23 | Anchor Law Firm PLLC               63901         Invoice #100219                $111.71         ($111.71)                                 $0.00     |Rathie Woodward
 Corp        Legal
                                                                                                                                             ($37.87)                              $0.00 | Rathje Woodward                   Invoice #100220                  Rathje Woodward -Invoice #100220- NJ Bar Complaint   re: Andrew Carroll
 C           Legal              Nov-23 | Anchor Law Firm PLLC               63901         Invoice #100220                 $37.87
                                                                                                                                                                                                                             Invoice #100220                  Rathje Woodward -Invoice #100220- NJ Bar C                       re: Andrew Carroll - 80.48%                                          $       156.13
                                Nov-23 | Anchor Law Firm PLLC               63901         Invoice #100220                $156.13         ($156.13)                                 $0.00 | Rathje           Woodward
 C           Legal E:
                                                                            63801         INV582894                      $113.79         {$113.79)                                 $0.00     |Legal Consuiting Fees          INV582894                        Consilio - INVS582894
 Cc          Legal E:           Nov-23   |BedRock Legal, PLLC
                                                                                                                                                                                                                             INV582894                        Consilio - INV582894 - Legal Consulting Fees - 80.48%                                                                                 $       469,14
                                Nov-23   |BedRock Legal, PLLC               63901        linvss2894                      $469.14         ($469.14)                                 $0.00     |Consilio
 C           Legal E
                                                                            63901         INVCUS1830164342               $113.79         {$113.79}                                 $0.00     |Consilio                       INVCUS1830164342                 Consilio - INVCUS1830164342
 C           Legal E:           Nov-23   |BedRock Legal, PLLC
                                                                                                                                                                                                                             {NVCUS1830164342                 Consilio - INVCUS1830164342 - Legal Cansulting Fees - 80.48%                                                                          $       469.14
             Legal E            Nov-23 |BedRock    Legal, PLLC              63901         INVCUS1830164342            $469.14            ($469.14)                                 $0.00 | Consitio
 Cc
                                Nov-23 [Boulder Legal Group, LLC            63901         40851295                       $773.12         ($773.12)                                 $0.00     |Wilentz Attorney at Law        Soltani Case - Invoice #40851294 Wilentz Attorney at Law - Invoice #40851295 - Soltani Case
 Ci          Legal Expen:                                                                                                                                                                                                                                                                                                                                                                           $     3,278.88
                                                                            63901         40851295                  $3,278.88          {$3,278.88)                                 $0.00     |Wilentz Attomey at Law         Sottani Case - Invoice #40851299 Wilentz Attorney at Law - Invoice #40851295 - Soltani Case - 80.92%
 C           Legal Expen:       Nov-23 [Boulder Legal Group, LLC
                                                                                          Invoice #100224                  $2.15               {$2.15)                             $0.00 | Rathje Woodward                   Invoice #100224.                 Rathje Woodward -Invoice #100224- Cronin, Michael and Connie v. Boulder Legal Group, LLC etal.
 Corporate Legal Expenses     | Nov-23 [Boulder Legal Group, LLC            63901




                                                                                                                                                                                                                                                                                                                                                                                                                     Exhibit 1
                                                                                          Case 1:24-cv-00040-EAW-MJR Document 234-2 Filed 03/22/24 Page 18 of 19
                                                                                                                 $15.85       {$15.65}    $0.00 | Rathje Woodward                     Invoice #100224                 Rathje Woodward -invoice #100224- Cronin, Michael and Connie v. Boulder Legat Group, LLC et al. - 88.08%                               15.85
Corporate Legal Expenses         | Nov-23 | Boulder Legal Group, LLC          63901    Invoice #100224
                            Nov-23 | Boulder Legal Group, LLC                 639014   invoice #100223        $2,556.95    ($2,556.95)    $0.00 | Rathje Woodward                     Invoice #100223                 Rathje Woodward -Invoice #100223- Amel Soltani v. Boulder Legal Group, LLC etal.
Corporate Legal Ext
                                                                                                             $10,844.24   ($10,844.24)    $0.00 | Rathje Woodward                     Invoice #100223                 Rathje Woodward -Invoice #100223- Amel Soltani v. Boulder Legal Group, LLC et al. - 80.92%                                         10,844.24
Corporate Legal Expenses _| Nov-23 Boulder Legal Group, LLC                   63901    Inveice #100223
                                                                              63901    {nveice #100255        $8,681.56    ($8,681.56)    $0.00 | Rathje             rd               Invoice #100255                 Rathje Woodward -Invoice #100255- City of Chicago Department of Law        figation
Corporate Legal Expenses _| Nov-23 | Burnette Legal Group, LLC
                                                                                                             $35,793.64   ($35,793.64)    $0.00   |Rathje        dward                Invoice #100255                 Rathje Woodward -Invoice #100255- City of Chicago Department of Law ti                          ‘ion - 80.48%                      35,793.64
Corporate Legal Expenses    Nov-23 | Burnette Legal Group, LLC                63901    Invoice #100255
Corporate Legal Expenses | Nov-23 | Burnette Legal Group, LLC                 63901    Inveice #100254           $48.22       ($48.22)    $0.00   |Rathje                d            Invoice #100254                 Rathje Woodward -Invoice #100254- Briggs {IL}
                                                                                                                 $91.27       ($91.27)    $0.00 | Rathje                 d            Invoice #100254                 Rathje Woodward -Invoice #100254- Briggs (IL) - 65.43%                                                                                 91.27
Corporate Legal Expenses         _| Nov-23 | Burnette Legal Group, LLC        63904    Inveice #100254
Corporate Legal Expenses         | Nov-23 | Burnette Legal Group, LLC         63901    Invoice #100261           $31.14       ($32.14)    $0.00 | Rathje Woodward                     Invoice #100261                 Rathje Woodward -Invoice #100261- Sally Proske (TX)
                                                                                                                 $99.55       ($99.55)    $0.00 | Rathje Woodward                     Invoice #100261                 Rathje Woodward -Invoice #100261- Sally Proske {TX) - 76.179                                                                           99.55
‘Corporate Legal Expenses           Nov-23 | Burnette Legat Group, LLC        63901    Invoice #100261
Corporate Legal Expenses         | Nov-23    |Burnette Legal Group, LLC       63901    Invoice #100258           $57.01       ($57.01)    $0.00 | Rathje Woodward                     Invoice #100258                 Rathje Woodward -Invoice #100258- Kimberly lose {IL}
                                                                                                                 $73.68       ($73.68)    $0.00 | Rathje Woodward                     Invoice #100258                 Rathje Woodward -Invoice #100258- Kimberly lose {IL} - 56.38%                                                                          73.68
Corporate Legal Expenses _| Nov-23           |Burnette Legal Group, LLC       63907    (nvoice #100258
Corporate Legal Expenses _| Nov-23           |Burnette Legal Group, LLC       63901    Invoice #100259           $30.56       ($30.56)    $0.00 | Rathje Woodward                     Invoice #100259                 Rathje Woodward -Invoice #100259- Michael St. Marie
                                                                                                                $100.13      ($100.13)    $0.00 | Rathje Woodward                     Invoice #100259                 Rathje Woodward -Invoice #100259- Michael St. Marie - 76.62%                                                                          100.13
Corporate Legal Expenses _| Nov-23           |Burnette Legal Group, LLC       63901    inveice #100259
Corporate Legal Expenses __| Nov-23 | Burnette Legat Group, LLC               63901    Invoice #100256           $30.35       ($30.35)    $0.00 | Rathje Woodward                     Invoice #100256                 Rathje         Wo dward   -Invoice #100256- Gregg Pounds {IL}
                                                                                                                $100.34      ($100.34)    $0.00 | Rathje Woodward                     Invoice #100256                 Rathje Woodward -Invaice #100256- Gregg Pounds (tL) - 76.78%                                                                          100.34
Corporate Legal Expenses | Nov-23 | Burnette Legal Group, LLC                 63901    invoice #100256
                                                                              63901    invoice #100252           $62.82       ($62.82)    $0.00   |Rathje Woodward                    Invoice #100252                 Rathje Woodward  -Invoice #100252- Anneli:          and Jeremy Craig
Corporate Legal Expenses __| Nov-23 | Burnette Legat Group, LLC
                                                                                                               $354.87       ($354.87)    $0.00 | Rathje Woodward                     Invaice #100252                 Rathje Woodward -Invoice #100252- Annelise Schnase and Jeremy Craig - 84.96%                                                          354.87
Corporate Legal Expenses         | Nov-23 | Burnette Legat Group, LLC         63901    invoice #100252
Corporate Legal Expenses         | Nov-23 | Burnette Legal Group, LLC         63901    invoice #100260           $45.87       ($45.87)    $0.00 | Rathje Woodward                     Invaice #100260                 Rathje Woodward -Invoice #100260- Ronnie and Monica Qui
                                                                                                                $222.63      ($222.63)    $0.00   |Rathje Woodward                    Invoice #100260                 Rathje Woodward -Invoice #100260- Ronnie and Monica Quil      + 82.92%                                                                222.63
Corporate Legal Expenses _| Nov-23           |Burnette Legat Group, LLC       63901    inveice #100260
Corporate Legal Exp                 Nov-23   |B       Legal Group, LLC        63901    invoice #100251           $15.07       {$15.07}    $0.00   |Rathje Woodward                    Invoice #100251                 Rathje Woodward -Invoice #100251- Alan and Ronda Goldman
                                                                                                                $200.93      ($200.93)    $0.00   |Rathje Woodward                    Invoice #100251                 Rathje Woodward -Invoice #100251- Alan and Ronda Gotdman - 93.02%                                                                     200.93
Corporate Legal Expenses         | Nov-23    |Burnette Legal Group, LLC       63901    Invoice #100251
Corporate Legal Expenses         | Nov-23 [Burnette Legal Group, LLC          63901    invoice #100253         $498.89       ($498.89)    $0.00   |Rathje Woodward                    Invoice #100253                 Rathje Woodward -Invoice #100253- Barbara Mango

                                    Nov-23 [Burnette Legal Group, LLC         63901    invoice #100253        $1,259.61    ($1,259.61)    $0.00   |Rathje Woodward                    Invoice #100253                 Rathje Woodward -Invoice #100253- Barbara Mango - 71.63%                                                                            1,259,612
Corporate Legal Exp
                                             |Burnette Legal Group, LLC       63901    invoice #100257         $694.03       ($694.03)    $0.00   |Rathje Woodward                    Invoice #100257                 Rathje Woodward -Invoice #100257- Ki               ‘ine   Hicks
Corporate Legal Expenses         | Nov-23
                                                                                                                $550.97      ($550.97)    $0.00   |Rathje Woodward                    Invoice #100257                 Rathje Woodward -Invoice #100257- Katherine Hicks - 44.25%                                                                            550.97
Ce         Legal Exp                Nov-23 | Burnette Legal Group, LLC        63901    Invoice #100257
Corporate Legal Expenses            Nov-23 | Canyon Legal Group, LLC          63901    534358                 $1,301.99    ($1,301.99)    $0.00   |Goodsill Anderson Quinn & Stifel   {Invoice #534358                Goodsill Anderson Quinn & Stifel - Invoice #534358 - ODC Matter
                                                                                                              $5,368.04    ($5,368.04)    $0.00 |Goodsill Anderson Quinn & Stifel     [invoice #534358                Goodsill Anderson Quinn & Stifet - Invoice #534358 - ODC Matter - 80.48%                                                            5,368.04
Ce         Legal Exp                Nov-23 | Canyon Legal Group, LLC          63901    534358
                                                                              63901    invoice #100225           $25.51       ($25.51)    $0.00   |Rathje Woodward                    Invoice #100225                 Rathje Woodward -Invoice #100225- Abron Toure - Hawaii Office of Disciplinary               Counset Complaint
Ce         Legal Exp:               Nov-23   |Canyon Legal Group, LLC
                                                                                                                $105.18      {$105.18)    $0.00   |Rathje Woodward                    Invoice #100225                 Rathje Woodward -Invoice #100225- Abron Toure - Hawail Office of Di                         y Counsel Ce        laint   - 80.48%      105.18
C          Legal Exp                Nov-23   |Canyon Legal Group, LLC         63901    invoice #100225
Comorate Legal Exp                  Nov-23   |Canyon Legal Group, LLC         63901    invoice #100226           $10.82       {$10.82}    $0.00   |Rathje                             Invoice #100226                 Rathje Woodward -Invoice #100226- Debrah Farentino
                                                                                                                $119.87      {$119.87}    $0.00   [Rathje                d            Invoice #100226                 Rathje Woodward -Invoice #100226- Debrah Farentino - 91.72%                                                                           119.87
Corp       Legal E                  Nov-23   |Canyon Legal Group, LLC         63901    {invoice #100226
Corp       Legal E                  Nov-23   |Gardner Legal, LLC              63901    1431207                  $223.86      ($223.86)    $0.00   |Roetzel & Andress, LPA             invoice #1431207                Roetzel & Andress, LPA - Invoice #1431207
                                                                                                                $456.14      ($456.14)    $0.00   |Roetzel & Andress, LPA             Invoice #1431207                Roetzel & Andress, LPA - Invoice #1431207- John Sc                          Case - 67.08%                                             456.14
Corporate Legal E                   Nov-23   |Gardner Legal, LLC              63901    1431207
Corporate Legal                     Nov-23   |Gardner Legal, LLC              63901    1433677                   $13.99       {$13.99)    $0.00   |Roetzel & Andress, LPA             Invoice #1433677                Roetzel & Andress, LPA - Invoice #1433677
                                                                                                                 $28.51       ($28.51)    $0.00   |Roetzel & Andress, LPA             Invoice #1433677                Roetzel & Andress, LPA - invoice #1433677- John Schmutzer Case - 67.08%                                                                28.51
Corporate Legal                     Nov-23   |Gardner Legal, LLC              63901    1433677
                                    Nov-23 |Gardner Legal, LLC                63901    Invaice #100246           $25.51       ($25.51)    $0.00 | Rathje Woodward                     Invoice #100246                 Rathje Woodward -Invoice #100246- Kali                    Inquiry
Corporate Legal
                                                                                                                $105.18      ($105.18)    $0.00 | Rathje Woodward                     Invoice #100246                 Rathje Wor     d -Invoice #100246- Kal        Inquiry - 80.48%                                                                        105.18
Corporate Legal       Exp           Nov-23   |Gardner Legal, LLC              63901    Inveice #100246
Corporate Legal Exp                 Nov-23   |Gardner Legal, LLC              63901    Invoice #100269          $226.72      {$226.72)    $0.00 | Rathje Woodward                     Invoice #100269                 Rathje Woodward -Invoice #100269- John Schmutzerv. Option 1 Legal (OH)
                                                                                                               $461.97       ($461.97)    $0.00 | Rathje Woodward                     tnvaice #100269                 Rathje Woodward   -Invoice #100269- John Schmutzerv. Option 1 Legal (OH) - 67.08%                                                     461.97
Corporate Legal B                   Nov-23   |Gardner Legal, LLC              63901    Inveice #100269
Corporate Legal Expenses         | Nov-23    |Hatlock and Associates, LLC     63901    Nov. Retainer   Pmt      $780.80      ($780.80)    $0.00 | Charles Ketttewell LLC                       Payment                Charles Kettlewell LLC - BAR matter- retainer
                                                                                                       Pmt    $3,219.20    ($3,219.20)    $0.00 | Charles Ketttewell LLC              Retainer Payment                Charles Ki                LLC - BAR matter - retainer               - 80.48%                                                        3,219.20
Corporate Legal BE                  Nov-23   |Hallock and A        i    LLC   63901    Nov. Retainer
                                                                              63901    12275179                 $976.00      {$976.00)    $0.00 | Buchanan Ingerson & Rooner          PA Generat          Retainer Paj Buch          Ingerson & Rooner - PA General                     Retainer Payment
Corporate Legal E                   Nov-23   |Heartland Legal Group, LLP
                                                                                                             $4,024.00     ($4,024.00)    $0.00 | Buchanan Ingerson & Rooner          PA General Relations Retainer Pa aa            Ingerson & Rooner - PA General                     Retainer Payment Invoice #12275179       - 80.48%                 4,024.00
Cc         Legal                    Nov-23   |Heartland Legal Group, LLP      63901    12275179
Ci         Legal £                  Nov-23   |Heartland Legat Group, LLP      63901    13826892               $1,108.50    ($1,108.50)    $0.00   [Arbitration   Payment                                              Arbitration Payment - Debbie Holmes Case
                                                                                                              $1,391.50    ($1,391.50)    $0.00   |AAA                                                                AAA - Arbitration Payment - tnvoice #13826892 - Debbie Halmes Case - 55.66%                                                         1,991.50
Ci         Legal &                  Nov-23   |Heartland Legal Group, LLP      63901    13826892
           Legal                    Nov-23   |Heartland Legal Group, LLP      63901    1433740                   $31.23       ($31.23)    $0.00 | Roetzet & Andress LPA               Invoice #1433740                Roetzel & Andress LPA - Invoice #1433740 - Margaret Young
Cr
                                                                                                                 $91.77       ($91.77)    $0.00 | Roetzet & Andress LPA               Invoice #1433740                Roetzel & Andress LPA - Invoice #1433740 - Margaret Young                   - 74.61%                                                   91.77
Ci         Legal €                  Nov-23 |Hearttand  Legal Group, LLP       63901    1433740
Ci         Legat €                  Nov-23 | Heartland Legal Group, LLP       63901    1433738                  $163.31      ($163.31)    $0.00 | Roetzel & Andress LPA               Invoice #1433738                Roetzel & Andress LPA - Invoice #1433738 - McClain Case
                                                                                                                $287.69      ($287.69)    $0.00 | Roetzel & Andress LPA               Invoice #1433738                Roetzel & Andress LPA - Invoice #1433738 - McCtain Case - 63.79                                                                       287.69
Corporate Legat                     Nov-23   |Heartland Lega! Group, LLP      63901    1433738
ie         Legal Expenses        | Nov-23    |Heartland Legal Group, LLP      63901    Invoice #100239          $542.17      {$542.17)    $0.00 | Rathje Woodward                     Invoice #100239                 Rathje Woodward -Invoice #100239- Holmes, Debbie Lawsuit USDC MD TN Case #3:20-cv-00870
                                                                                                                $680.58      ($680.58)    $0.00 | Rathje Woodward                     Invoice #100239                 Rathje Woodward -Invoice #100239- Holmes, Debbie Lawsuit USDC MD TN Case #3:20-cv-00870 - 55.66%                                      680.58
Corporate Legal B                   Nov-23   |Heartland Legal Group, LLP      63901    Invoice #100239
Corporate Legal B                  Nov-23 | Heartland Legal Group, LLP        63901    lnvoice #100240        $1,334.28    {$1,334.28)    $0.00 | Rathje Woodward                     invoice #100240                 Rathje Woodward -Invoice #100240- McClain {OH)
                                                                                                              $2,350.56    {$2,350.56)    $0.00 | Rathje Woodward                     Invoice #100240                 Rathje Woodward -Invoice #100240- McClain (OH) - 63.79%                                                                             2,350.56
Corporate Lega! E:                 Nov-23    |Heartland Legal Group, LLP      63901    Invoice #100240
                                   Nov-23    |Heartland Legal Group, LLP      63901    Invoice #100241           $25.51       ($25.51)    $0.00 | Rathje Woodward                     Invoice #100241                 Rathje Woodward -Invoice #100241- PA Attorney General
Corporate Legal E:
                                                                                                                $105.18      ($105.18)    $0.00 | Rathje Woodward                     Invoice #100241                 Rathje Woodward -Invoice #100241- PA Attorney General - 80.48%                                                                        105,18
Corp      Legal Exp:         Nov-23 |      land Legal Group, LLP              63901    Invoice #100241
Corporate Legal Expenses _| Nov-23 | Heartland Legal Group, LLP               63901    Invoice #100242           $25.51       ($25.51)    $0.00 | Rathje Woodward                     Invoice #100242                 Rathje Woodward -Invoice #100242- PA AG (Morenus)
                                                                                                                $105.18      ($105.18)    $0.00 | Rathje Woodward                     Invoice #100242                 Rathje Woodward -Invoice #100242- PA AG (Morenus) - 80.48%                                                                            105.18
Corporate Legal Expenses __| Nov-23 |Heartland Legal Group, LLP               63901    Invoice #100242
Corporate Legal Expenses _| Nov-23 | Infinite Law Group                       63901    3750                   $1,338.42    ($1,338.42)    $0.00 | Thurman Legal Invoice #3750         Invoice #3750                   Thurman Legal Invoice #3750 - General Regulatory Advise
                                                                                                              $5,518.25    ($5,518.25)    $0.00 | Thurman Legal Invoice #3750         Invoice #3750                   Thurman Legal Invoice #3750 - General Regulatory Advise - 80.48%                                                                    §,518.25
Corporate Legal Expenses _| Nov-23 | Infinite Law Group                       63901    3750
                                                                              63901    invoice #100245           $82.86       ($82.86)    $0.00 | Rathje Woodward                     Invoice #100245                 Rathje Woodward -Invoice #100245- Nancy Leaman C              to VA Bureau of Finanacial Institutions
Corporate Legal Expenses         | Nov-23 | Infinite Law Group
                                                                                                                             ($341.64)    $0.00 | Rathje Woodward                     Invoice #200245                 Rathje Woodward -invoice #100245- Nancy Leaman Complaint to VA Bureau of Finanacial Institutions - 80.48%                             341.64
Corporate Legal Expenses         | Nov-23 | Infinite Law Group                63901    Invoice #100245          $341.64
                                                                                                             $30,000.00   {$30,000.00)    $0.00   |November Payment                   November Payment                 Rathje Woodward - Falkner            85.76%                                                                                       25,728.00
Carporate Legal                    Nov-23 | Michel Law, LLC                   63901    November Payment
Corporate Legal Expenses         | Nov-23 | Northstar Legal Group, LLC        63901    Invoice #100266           $25.51       ($25.51)    $0.00 | Rathje Woodward                     Invoice #100266                  Rathje Woodward -Invoice #100266- MN Attamey General Civil Investigative Demand
                                                                                                                             ($105.18)    $0.00   |Rathje Woodward                    Invoice #100266                  Rathje Woodward -Invoice  #100266- MN  Attorney Generat Civil Investigative Demand - 80.48%                                          105.18
Carporate Legal Expenses         | Nov-23    |Northstar Legal Group, LLC      63901    Invoice #100266          $105.18
                                                                              63901    Invoice #100267           $59.78       ($59.78)    $0.00   [Rathje                             Invoice #100267                  Rathje Woodward -Invoice #100267- Susan Kusz C:                    laint   to Minnesota OLPR
Corporate Legal E:          es   | Nov-23    |Northstar Legal Group, LLC
                                                                                                                 $70.91       ($70.91)    $0.00   |Rathje             rd              Invoice #100267                  Rathje Woodward -Invoice #100267- Susan Kusz C        to Minnesota OLPR - 54.26%                                                      70.91
Corporate Legal Expenses           Nov-23 | Northstar Legal Group, LLC        63901    Invoice #100267
Corporate Legal Expenses         | Nov-23 | Northstar Legal Group, LLC        63901    Invoice #100265        $1,761.16    ($1,761.16)    $0.00   |Rathje        dward                Invoice #100265                  Rathje Woodward -Invoice #100265- Lyndsey Vandenbosch (MN OLPR)
                                                                                                              $3,921.84    ($3,921.84)    $0.00 | Rathje Woodward                     Invoice #100265                  Rathje Woodward -Invoice #100265- Lyndsey Vandenbosch (MN OLPR) - 69.01%                                                           3,921.84
Corporate Legal Expenses    Nov-23 | Northstar Legal Group, LLC               63901    Invoice #100265
Corporate Legal Expenses    Nov-23 | Pioneer Law Firm, PC                     62550    Client Fees              $206.85      ($206.85)    $0.00 | Client Fees                         Client Fees                      Client Fees

Corporate Legal Expenses _| Nov-23 [Rockwell Legal Group, PLLC                63901    Invoice #100271           $25.51       ($25.51)    $0.00   |Rathje Woodward                    Invoice #100271                  Rathje Woodward -Invaice #100271- CID (AZ)
                                                                              63902    Invoice #100271          $105.18      ($105.18)    $0.00   |Rathje Woodward                    Invoice #100271                  Rathje Woodward -Invoice #100271- CID (AZ) - 80.48%                                                                                  105.18
Corporate Legal Expenses         | Nov-23 | Rockwell Legal Group, PLLC
                                                                              63801    Invoice #100272            $0.48         ($0.48)   $0.00   |Rathje Woodward                    Inveice #100272                  Rathje Woadward -Invoice #100272- CO Department of Law                           igation
Corporate Legal Expenses         | Nov-23    [Rockwell Legal Group, PLLC




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                                                                                                                     QU.UU   pnauye yYUUUWatU                 WivwiUs mauve se   PMR    Pe CCU      Tone aes         we wep eer wee eee            te          td                          =
Corporate Legal Exp        Nov-23 | Rockwell Legal Group, PLLC   63901   Invoice #1002/2       PLS         (p98)
                                                                 63901   Invoice #100273    $617.61      ($617.61)   $0.00 | Rathje Woodward                  Invoice #100273    Rathje Woodward -Invoice #106273-      Mil        Dept. of Ci
Corpi      Legal &         Nov-23 | Rockwell Legal Group, PLLC
                                                                                                                     $0.00 | Rathje Woodward                  Invoice #100273    Rathje Woodward -Invoice #100273- Mi              Dept. of Com!        - 80.48%                       2,546.39
Corporate Legal E          Nov-23 | Rockwell Legal Group, PLLC   63901   Inveice #100273   $2,546.39   ($2,546.39)
                           Nov-23 | Spring Legal Group, LLC      63901   1431228             $837.69     ($837.69)   $0.00   |Roetzel & Andres LPA            Invoice #1431228   Roetzel & Andres LPA - Invoice #1431228 - Erica Welsh Case
Corporate Legal B
                                                                                                                     $0.00   |Roetzel & Andres LPA            Invoice #1431228   Roetzel & Andres LPA - Invoice #1431228 - Erica Welsh Case - 87.19%                                   5,701.63
Corporate Legal ©          Nov-23 | Spring Legal Group, LLC      63901   1431228           $5,701.63   {$5,701.63}
                           Nov-23 | Spring Legal Group, LLC      63901   1428039             $101.92     ($101.92)   $0.00   |Roetzel & Andres LPA            Invoice #1428039   Roetzel & Andres LPA - Invoice #1428039 - Erica Welsh Case
Corporate Legal B
                                                                                                                     $0.00        & Andres LPA
                                                                                                                             |Roetzel                         Invoice #1428039   Roetze! & Andres LPA - Invaice #1428039 - Erica Wetsh Case - 87.19%                                     693.74
(o         Legal           Nov-23 | Spring Legal Group, LLC      63901   1428039             $693.74     {$693.74}
                                                                 63901   1433730             $191.89     {$191.69}   $0.00        & Andres LPA
                                                                                                                             |Roetzel                         Invoice #1433730   Roetzet & Andres LPA - Invoice #1433730 - Erica Welsh Case
Corporate Legal ©          Nov-23 | Spring Legal Group, LLC
                                                                                                                     $0.00   |Roetzet & Andres LPA            Invoice #1433730   Roetzel & Andres LPA - Invoice #1433730 - Erica Welsh Case - 87.19%                                   4,306.11
Corp       Legal Exp'      Nov-23 | Spring Legal Group, LLC      63901   1433730           $1,306.11   {$1,306.11}
                                                                 63901   Invoice #100274    $431.79      ($431.79)   $0.00 | Rathje             d             Invoice #100274    Rathje Woodward -Invoice #100274- Erica Welsh f/k/a Erica Waite v. Spring Legat Group (OH)
Ci         Legal Exp       Nov-23 | Spring Legal Group, LLC
                                                                                                                     $0.00 | Rathje Woodward                  Invoice #100274    Rathje Woodward -Invoice #100274- Erica Welsh f/k/a Erica Waite v. Spring Legal Group (OH) - 87.19%   2,938.90
Ce         Legal Exp       Nov-23 | Spring Legal Group, LLC      63901   Invoice #100274   $2,938.90   ($2,938.90)
                                                                 63901   858864               $17.83      {$17.83)   $0.00   |Balch & Bingham LLP             Invoice #858864    Balch & Bingham LLP - Invoice #858864- Kirkland (AL)
Corporate Legal Exp        Nov-23 | Summit Law Firm, LLC
                                                                                                                     $0.00   |Balch & Bingham LLP             Invoice #858864    Balch & Bingham LLP - Invoice #858864- Kirkland (AL) - 79.74%                                            70.17
Corp       Legal Exp       Nov-23 | Summit Law Firm, LLC         63901   858864               $70.17      {$70.17)
                           Nov-23 | Summit Law Firm, LLC         63901   Invoice #100287      $25.51      ($25.51)   $0.00   |Rathje Woodward                 Invoice #100287    Rathje Woodward -Invoice #100287- Response to WY AG Subpoena, Subp. #1982
Corporate Legal Expenses
                                                                                                                     $0.00   |Rathje Woodward                 Invoice #100287    Rathje Woodward -Invoice #100287-          to WY AG Subp      Subp. #1982 - 80.48%                      105.17
Corporate Legal E:         Nov-23   |Summit Law Firm, LLC        63901   Invoice #100287     $105.17     ($105.17)
                                                                 63901   Invoice #100286     $378.34     ($378.34)   $0.00 | Rathje Woodward                  Invoice #100286    Rathje Woodward -Invoice #100286- Boller {MN AG)
Corporate Legal B          Nov-23 | Summit Law Firm, LLC
                                                                                                                     $0.00 | Rathje Woodward                  Invoice #100286    Rathje Woodward -Invoice #100286- Boller (MN AG) - 71.67%                                               957,15
Corporate LegalEs          Nov-23 | Summit Law Firm, LLC         63901   Invoice #100286     $957.15     ($957.15)
                                    |The Sands Law Group, LLP    63901   186480               $14.09      ($14.09)   $0.00 |Morrow Willnauer Church, LLC _| Invoice #186480      Morrow Willnauer Church, LLC - Invoice #186480 - Terry Hinds (CRP MO}
Corporate Legal            Nov-23
                                                                                                                     $0.00 | Morrow Willnauer Church, LLC   __|Invoice #186480   Morrow Willnauer Church, LLC - Invoice #186480- Terry Hinds {CRP MQ) - 76.52%                            45.91
Corporate Legal            Nov-23   |The Sands Law Group, LLP    63901   186480              $45.91       ($45.91)
                                    |The Sands Law Group, LLP    63901   invoice #100285      $30.69      ($30.69)   $0.00 | Rathje Woodward                Invoice #100285      Rathje Woodward -Invoice #100285- Terry Hinds
Corporate Legal            Nov-23
                                                                                                                     $0.00   |Rathje Woodward                  Invoice #100285   Rathje Woodward -Invoice #100285- Terry Hinds - 76.52%                                                  100.00
Corporate Legal            Nov-23   |The Sands Law Group, LLP    63901   invoice #100285     $100.00     {$100.00)
                                    |White Oak Law Group         63901   1066                $381.00    ($381.00)    $0.00   |Chris Nybo LLC Invoice #1060     Invoice #1040     Chris Nybo LLC Invoice #1060 - November Services
Corporate Legal      Exp   Nov-23
                                                                 63901   1060                $244.00     ($244.00)   $0.00   |Chris Nybo LLC Invoice #1060     Invoice #1040     Chris Nydo LLC invoice #1060 -               Services
Corp       Legal Exp       Nov-23 | White Dak Law Group
Corp      Legal Exp        Nov-23 |White Oak Law Group           63901   23-3128             $502.64     ($502.64)   $0.00   |Rabinson Stewart                                   Robinson Stewart - Invoice #23-3128 - Ethics Consult
                                                                                           $2,072.36   {$2,072.36)   $0.00   [Robi     Stewart                                   Robinson Stewart - Invoice #23-3128 - Ethics Consult - 80.48%                                         2,072.36
Corporate Legal Exp:       Nov-23 |White Oak Law Group           63901   23-3128




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